Qase 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 1 of 45 Page|D: 11795

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October 10, 2018

To whom it may concern:

lVly name is Joseph A|exander DeHart. l\/|y current address is 1244 Right Fork Beech Fork Road East
Lynn, WV 25512, however google maps pulls it as Little Lynn Creek Road which is what l had to use so
that l could show you the distance traveled the day l picked my car up from the dealership. lVly current
phone number is 304-849-3519 and my cell phone number is 304-638-4747. lVly cel| phone does not
have service as often as it should so please use the first number listed to contact me and if you must use
the cell number leave a voicemail and | will return the call as soon as possible, |, along with The First
State Bank as the lien holder, was at the time the damage occurred and currently still am the owner of
the 2010 Volkswagen CC with the vehicle identification number WVWNP7AN6AE549159. l have
included proof that l had the loan, proof that the vehicle is registered in my name and with lien holder
as well as several other documents. l have not filed with nor have a been a party to any other claims in
this matter with any other courts although my mother did seek legal advice from an attorney who is a
family friend when this issue initially occurred and was advised that l should try to wait it out and
become a part of the class action if at all possible, which | have done. Since | am not able to attend the
hearing in person l am submitting my statement below, but please contact me if you have any
questions l do not want to be excluded from the settlement; however it also does not address mv
problem/issue. | am objecting to the current settlement agreement for /n Re l/o//<swaqen Timinq Chain
Product Liabilitv Litiqation, Civil Action No. 16-2765 (JLL)lJAD)based on the following statement in the
information that follows. On the l\/|ay 26, 2017 | was in to |V|oses who is the local Volkswagen dealership
and picked up my vehicle after some repair work was done where l had a minor rear end accident on the
parking lot of where l worked at that time. |n the invoice (which is enclosed) that l was given that day it
is noted about a time code and a slight timing chain noise, however none of this was address with me
verbally nor was anything said as to the importance of what could occur yet they had knowledge of the
tensioner and time chain issues as they were involved in litigation that | knew nothing about until it
happened and l began the research. On the invoice you can see that the mileage stated was 106815 and
after picking up the car | drove from one side of Huntington to the other side of Huntington where |
bank and then home (see enclosed map). By the time l got to my home the engine was shot yet they
had just finished with the repairs. l have included a picture | took yesterday showing the current
mileage on the car and as you can see l have not been able to use the car since that day as the current
mileage showing is 106854. | have continued to pay for my car loan all this time and have never once
missed a payment, l have included a portion of those documents supporting the fact that l have a loan
on the vehicle, what the monthly payment is and what the maturity date is on the loan. | have had
several hardships along the way do to this happening and have enclosed some letters that l or my

Catse 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 2 of 45 Page|D: 11796

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mother who is guarantor on the loan and an employee where l have my loan had to submit so l could
drop the full coverage insurance. | have patiently waited for the results in the hopes of getting my car
repaired as | do not have the funds to do so myself. l was so excited to hear the news that an
agreement had been reached and l would be able to tow my car there and get it repaired only to find
out that this is only for reimbursement of monies spent. Well what if you are so poor that all you can do
is either buy the car or repair the car? l cannot do both and l have to pay my loan payments on time.
We could not find aftermarket parts and going through the dealership to purchase them was far more
than l could afford. Please include in this settlement that anyone who has this issue and suffered the
catastrophic engine damage and has the need of repairs not yet taken care of too also be included in the
settlement. l see no difference in if l could have afforded to have the repairs done and them to
reimburse me or them to repair the car at their expense now and anything not covered l should pay. l
arn not asking for the hardships l've incurred to be reimbursed, just not to be excluded from the
settlement because l had no way to pay for the repairs. |amJ)art of the class action as l was injured due
to the dealership not telling me that day of the importance of what was going on and what would
happen since they were aware of what the outcome would most likely be. l think making a car payment
for a year and a half without the benefit of the vehicle is enough so please include those who may be
out there like me in this settlement. Thank you for your time.

loseph A. DeHart

10-10-2018

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 3 of 45 Page|D: 11797

Volkswagen Timing Chain Settlement
Claim Administrator

P.O. Box 3656

Portland, OR 97208-3656

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JOSEPH DEHART
1244 RIGHT FORK LICK CREEK RD
EAST LYNN WV 25512

August 28, 2018
Tracking Number: 990800

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 4 of 45 Page|D: 11798

CLASS NOTICE

A federal court authorized this notice. T his is not a solicitation from a lmvyer.
UNITED STATES DISTRlCT COURT FOR THE DlSTRICT OF NEW JERSEY

I_f you now or used to own or lease certain Volkswagen vehicles equipped with a factory installed timing chain or
timing chain tensioner, you may be entitled to benefits afforded by a class action settlement. This notice is being
mailed to you because you have been identified as owning or leasing a Settlement Class Vehicle.

- This class action claimed that some timing chains or timing chain tensioners in certain Volkswagen
vehicles can fail. The class action, pending in the United States District Court for the District of
New Jersey, is entitled In Re Volkswagen Timing Chain Product Liability Litigation, Civil Action
No. ].6-2765(JLL)(JAD) (the “Action” or “Lawsuit”).

‘ The parties have agreed to settle the Action. This Notice explains the Lawsuit, the Settlement, your
legal rights, available benefits, who is eligible for them, and how to get them. As a Settlement Class
Member, you have various options that you may exercise before the Court decides whether to approve
the Settlement. Additional information is available online at www.TimingChainLitigation.com.

~ Your legal rights are affected whether you act or don’t act. Read this Notice carefully.

' The Court in charge of this case still has to decide whether to approve the Settlement. Payments will
be made only if the Court approves the Settlement and after appeals, if any, are resolved.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com §§

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 5 of 45 Page|D: 11799¢ ‘
BASIC INFORMATION

1. Why you received this notice.

According to Volkswagen Group of America, lnc.’s (“VWGoA”) records, you are a current or past owner or lessee of
a Volkswagen vehicle with a 2.0L EA888 engine ("Settleiiieiit Class Member"’) from the following model/model year:

certain 2012-2014 model year Beetle

certain 2012-2014 model year Beetle Convertible

certain 2009-2012 model year CC

certain 2009-2012 model year Eos

certain 2008~2012 model year GTI

certain 2008-2010 and 2012-2014 model year Jetta Sedan
certain 2009 model year Jetta SportWagen

certain 2008-2010 model year Passat Sedan

certain 2008~2010 model year Passat Wagon

certain 20()9*2013 model year Tiguan

(hereinafter, collectively, “Settlement Class Vehiclcs”). A class action lawsuit was filed claiming that there was
a defect that caused some timing chains and/or timing chain tensioners in the Settlement Class Vehicles to fail,
sometimes requiring repair or replacement Volkswagen has denied the claims and maintains the timing chains and
timing chain tensioners function in a proper manncr.

The Lawsuit has been resolved through a Settlement under which the following benefits will be provided:

I. Warrantv Extension

VWGoA’s New Vehicle Limited Warranty will be extended to cover repair or replacement of failed timing
chains and/or timing chain tensioners of Settlement Class Vehicles during a period of ten (10) years or
one hundred thousand (100,000) miles from the date the vehicle was first placed into service, whichever
comes first The warranty extension will be subject to the terms and conditions of the applicable New
Vehicle Limited Warranty and will include the timing chain tensioner, timing chain, and any parts and
labor necessary to effectuate a repair This warranty extension will apply to all Settlement Class Vehicles
irrespective of whether the vehicle has been repaired on or before the EfTective Date of the Settlement. Thc
warranty, as extended, is fully transferable to subsequent owners Repair or replacement under this extended
warranty must be performed by an authorized Volkswagen dealer

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Tensioncr

Settlement Class Membcrs may be entitled to reimbursement for out-of-pocket expenses incurred for repair
or replacement of failed timing chains and/or timing chain tensioners of Settlement Class Vehicles during the
period often (lO) years or one hundred thousand (100,000) miles from the date the vehicle was first placed
into scrvice, whichever occurs first, as follows:

A. Timing Chain Tensioner Repair/Replacement

~ If the timing chain tensioner was repaired or replaced at an authorized Volkswagen dcaler, the
Settlement Class Member will receive a one-hundred-percent (100%) refund of the paid dealer
invoice amount for the covered part(s) and laboi'.

- if the timing chain tensioner was repaired or replaced at an independent service center and not an
authorized Volkswagen dealer, the Settlement Class Member will receive a refund of the paid invoice
for the covered parts and labor, but no more than $1,100.00.

B. Timing Chain Repair/Renlacement

~ If the timing chain was repaired or replaced at an authorized Volkswagen dealer, the Settlement
Class Member will receive a one-hundred-percent (10()%) refund of the paid dealer invoice amount
for the covered part(s) and labor.

~ l f the timing chain was repaired or replaced at an independent service center and not an authorized
Volkswagen dealer, the Settlement Class Member will receive a refund of the paid invoice amount
for the covered parts and labor, but no more than $1,500.00.

° When the timing chain is replaced, the warranty coverage includes oil change, oil filtcr, and cleaning
of oil pan, which includes reimbursement to Settlement Class Members for payments previously
made for these items in connection with a timing chain repair or replacement

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com
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C'ase 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 6 of 45 Page|D: 11800

C.

~ The above relief is subject to certain limitations and proof requirements which are set forth in Section
IV below and in the Settlement Agreemcnt, which can be found at www.TimingChainLitigation.com.

Simultaneous Timing Chain and Timing Chain Tensioner Repair/R§placement

\ lf the timing chain and timing chain tensioner were both simultaneously repaired or replaced at an
authorized Volkswagen dealer, the Settlement Class Member will receive a one-hundred-pcrcent
(100%) refund of the dealer invoice amount for the covered part(s) and labor.

~ If the timing chain and timing chain tensioner were both simultaneously repaired or replaced at an
independent service center, the Settlement Class Member will receive a refund of the invoice for the
covered parts and labor, but no more than $2,000.0(),

» The above relief is subject to certain limitations and proof requirements which are set forth in Section
IV below and in the Settlement Agreement, which can be found at www.TimingChainLitigation.coin.

III. Reimbursement of Out-of-Pocket Expenses to Repair or Replace a Dainaged or Failed Engine Duc to Failure
of the Timing Chain Tensioner and/or Timing Chain

In addition to the reimbursements and warranty extension set forth above, Settlement Class Mcmbers may be
entitled to reimbursement of out-of-pocket expenses incurred to repair or replace a failed or damaged engine
due to the failure of the timing chain tensioner and/or timing chain within ten (lO) years or one hundred
thousand (100,000) miles from the date the Settlement Class Vehicle was placed into service, whichever
occurs first, as follows:

If the engine was repaired or replaced at an authorized Volkswagen dealer, a refund of the paid dealer
invoice amount subject to the time/mileage parameters in Table l, below.

If the engine was repaired or replaced at an independent service center and not an authorized Volkswagen
dealer, the maximum reimbursement amount is $6,500.00, subject to the time/mileage parameters in
Table l, below. t

TABLE l: RElMBURSEMENT FOR OUT-OF-POCKET EXPENSES FOR DAMAGED OR FAILED ENGINE

DUE TO TIMING CHAIN TENSIONER/TIMlNG CHAIN FA[LURE

 

 

 

 

 

 

 

 

 

Time from Less than 60,001 to 75,000 75,001 to 85,000 85,001 to 100,000
in-service date 60,000 miles miles miles miles
5 years or less 100% 70% 60% 45%

5~7 years 70% 60% 50% 35%

7»10 years 60% 50% 40% 25%

 

lV. Limitations and Reguired Proof

A. Limitations

 

Any reimbursement will be reduced by goodwill or other concession paid by an authorized
Volkswagen dealer or any other entity (including insurers and providers of extended warranties).
VWGoA will not be responsible for, and will not warrant, repair or replacement work performed
at an independent service center. If the Volkswagen replacement covered part(s), purchased by
the Settlement Class Member or the independent service center from an authorized Volkswagen
dealer, fails within one (l) year or 12,000 miles (whichever occurs first) of installation, VWGoA will
provide a free replacement of the covered part(s) only.

Any replacement engine will be subject to the replacement part warranty terms and conditions
accompanying that replacement engine This Settlement does not modify the terms, conditions,
restrictions, or limitations of that warranty

B. Reguired Proof

In order to obtain the benefits provided for in this section, the Settlement Class Member shall provide
documentation sufficient for the Claims Administrator to process the claim, such as:

V3053 v.OG 08.’|7 2018

Repair invoice containing the Settlement Class Membcr’s name, make, model year, vehicle
identification number (VIN) of the Settlement Class Vehicle, name and address of the authorized
Volkswagen dealer or servicing center that performed the repair, date of re pair, description of repair,
mileage at repair, part(s) replaced, that the repair or replacement was due to the failure of the timing
chain tensioner and/or timing chain, the cost (parts and labor) of repair/replacement, and proof of
payment of same or such other proof sufficient to establish the repair.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

3

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 7 of 45 Page|D: 11801'

~ Documents evidencing Settlement Class Member’s good faith adherence to the relevant aspects of

the vehicle maintenance schedule during the time lie/she owned the Settlement Class Vehicle, in
particular, scheduled oil changes up to the date/mileage ofrenair/replacement. H'owever, in the event
maintenance records cannot bc obtained despite a good faith effort to obtain them, the Settlement
Class Member may submit a sworn declaration detailing why the records are not available, and
attesting to adherence to the vehicle maintenance schedule and, in particular, scheduled oil changes

up to the date/mileage of replacement/rcpair, within the variance set forth above.

2. Why is this a class action settlement?

In a class action lawsuit, one or more persons called Class Reprcsentativcs sue on behalf of other people who have
similar claims All of these people are Class Members. The Class Reprcsentativcs and all Settlement Class Members
are called the Plaintiffs and the companies they sued are called the Defendants. One court resolves the issues for
all Settlement Class Members, except for those who exclude themselves from the Class. U.S. District Judge Jose L.
Linares is in charge of this class action.

The Court has not decided in favor of Plaintifl`s or Defendants. lnstead, both sides agreed to a Settlement with no
decision or admission of who is right or wrong That way, all parties avoid the risks and cost of a trial, and the people
affected (the Settlement Class Members) will get compensation quickly The Class Reprcsentativcs and the attorneys
think the Settlement is best for the Settlement Class.

WHO IS PART OF THE SETTLEMENT?

3. Am l in this Settlement Class?

Judgc Linares conditionally approved the following definition of a Settlement Class Member: All present or former
purchasers and/or lessees of a Volkswagen Settlement Class Vehicle enumerated below, originally equipped with
factory installed timing chain or timing chain tcnsioner, who reside in the United States of Amcrica and Puerto Rico:

certain 2012-2014 model year Beetle

certain 2012~2014 model year Beetle Convcrtible

certain 2009~2012 model year CC

certain 2009-2012 model year Eos

certain 2008~2012 model year GTI

certain 2008-2010 and 2012~2014 model year Jetta Sedan
certain 2009 model year Jetta SportWagen

certain 2008~2()10 model year Passat Sedan

certain 2008-2010 model year Passat Wagon

certain 2009~2013 model year Tiguan

Excludcd from the Settlement Class are (a) anyone claiming personal injury, property damage, and/or subrogation;
(b) all Judges who have presided over the Action, and their spouses; (c) all current employees ollicers, directors,
agents, and representatives of Volkswagen Group Companies, and their family members; (d) any afliliate, parent or
subsidiary of Defendants and any entity in which Defendants have a controlling interest; (e) anyone who purchased a
Settlement Class Vehicle for the purpose of commercial rcsale; (f) anyone who purchased a Settlement Class Vehicle
with salvaged title and/or any insurance company who acquired a Settlement Class Vehicle as a result of a total loss;
(g) any insurer of a Settlement Class Vehicle; (h) any owners or lessees of Settlement Class Vehicles that were not
manufactured for export specifically into the United States of America or Puerto Rico and were not imported oi'
distributed by VWGoA; and (i) any Settlement Class Member that files a timely and proper request for exclusion
from the Settlement Class.

4. l’m still not sure if l am included.

If you are still not sure whether you arc included, you can get more information You can call l-855-206-9873 or visit
www.TimingChainLitigation.com for more information

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

V3054 v 06 08,’17.2018

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V3055 v.06 08,'|7.2018

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 8 of 45 Page|D: 11802

SETTLEMENT BENEFITS - WHAT YOU GET

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5. What does the Settlement provide?

The benefits afforded by the Settlement are described in Question l. More details are provided in the next three
sections

6. How does the extended warranty work?

Beginning on August 28, 2018, VWGoA’s New Vehicle Limited Warranty will be extended for all Settlement Class
Vehicles to cover repair or replacement of a failed timing chain and/or timing chain tensioner by an authorized
Volkswagen dealer if, at the time you bring your vehicle to the dealer for repair, it is within ten (lO) years or one
hundred thousand (100,000) miles (whichever occurs first) from the date the Settlement Class Vehicle was first placed
into service The rights and procedures generally available under the New Vehicle Limited Warranty will apply to
repairs during this extended warranty period. The extended warranty is subject to the same terms and conditions of
the New Vehicle Limited Warranty

7. Who can send in a claim for cash payments?

Any United States or Puerto Rico resident who purchased or leased a Settlement Class Vehicle can send in a claim
for cash reimbursement for money spent within the time/mileage parameters and prior to the date of this Notice as
described in Question l.

8. How dol send in a claim for a cash reimbursement?

 

To submit a claim for a cash reimbursement, you must do the following:

I. Online

A. Complete an online Claim Form and upload supporting documentation (i.e., repair record[s|, receipts,
proof of payment, and proof of compliance with maintenance requirements) at the Settlement website,
www.TimingChainLitigation,com.

II. Bv mail

A. Completc, sign, and date a Claim Form (there is one enclosed with these materials and you can also
download one at www.TimingChainLitigation.com). lt is recommended that you keep a copy of the
completed Claim Form; and

B. Mail the Claim Form and your supporting documentation (i.e, repair record[s], receipts_, proof of
payment, and proof of compliance with maintenance requirements) by First-Class mail, postmarked no
later than January 25, 2019, to the address provided on the Claim Form. The information that must be
refiected in your records can be found on the Claim Form. lt is recommended that you keep a copy of
your repair records

If you fail to submit the Claim Form and supporting documents by the required deadline, you will not get paid.

9. When do l get my reimbursement or learn whether l will receive a payment?

If the Claims Administrator determines your claim is valid, your reimbursement will be mailed to you after the
Settlement becomes final. The Court will hold a Fairness Hearing on November 19, 2018, to decide whether to
approve the Settlement as fair, reasonable, and adequate Information about the progress of the case will be available
at www.Timing ChainLitigation.com.

Ifthe Claims Administrator determines your claim should not be paid, you will be mailed a letter telling you this lf
the reason for rejecting your claim is due to a deficiency in your Claim Form and/or supporting proof, the letter will
notify you of the deficiency in your claim and what needs to be submitted to correct the deficiency To check on the
status of your claiin, you can call 1-855-206-9873.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com H

5

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 9 of 45 Page|D: 11803 `

10. What am l giving up to get a cash reimbursement and stay in the Class?
Unless you exclude yourself_, you are staying in the Class, and that means that you cannot sue, continue to sue, or be

part of any other lawsuit about the same matters and legal issues in this case (except for claims of personal injury or
property damage). lt also means that all of the Court’s orders will apply to you and legally bind you.

EXCLU DING YOURSELF FROM THE SETTLEMENT

11. How do | get out of this Settlement?

To exclude yourself from the Settlement, you must send a letter by U.S. mail postmarked no later than October 12,
2018, stating that you want to be excluded from the Settlement. Be sure to include your full name, address telephone
number, signature, model year, VIN of your vehicle, and the approximate date(s) of purchase or lease You must mail
your exclusion request postmarked no later than October 12, 2018, to each of the following:

 

Claim Administrator

Class Counsel

Defense Counsel

 

Volkswagen Timing Chain
Settlement

Claim Administrator

PO Box 3656

Portland, OR 97208-3656

Jamcs E. Cecchi

CARELLA BYRNE CECCHI
OLSTEIN BRODY & AGNELLO,
P.C.

5 Bcckcr Farm Road

Roscland, NJ ()7()68

 

Jeffrey L. Chasc

CHASE KURSHAN HERZFELD
& RUBIN LLC

354 Eisenhower Parkway

Suite 1100

Livingston, NJ 07039

 

 

 

 

You cannot exclude yourself on the phone or by email, lf you submit your request to be excluded by U.S. mail or
express mail, you will not get any benefits of the Settlement and you cannot object to the Settlement. You will not be
legally bound by anything that happens in this Lawsuit.

12. |f l don't exclude myself, can l sue |ater?

No, not for the same matters and legal claims at issue here, unless your claim is for personal injury or property
damage

13. lf l exclude myself, can l get the benefits of this Settlement?

No, if you exclude yourself from the Settlement Class, you won’t get any money or benefits from this Settlement, and
you should not submit a Claim Form. You cannot do both.

14. Do l have a lawyer in this case?

The Court has appointed the law firms of Carclla Byrne Cecchi Olstein Brody & Agncllo, P.C.; Kessler Topaz Meltzer
& Check, LLP; and Kantrowitz, Goldhamer & Graifman, Esqs. Together these law firms are called "Class Counsel.”

7715. Should | get my own lawyer?

You do not need to hire your own lawyer because Class Counscl is working on your behalf But, if you want your
own lawyer, you may hire one at your own cost.

16. How will the lawyers be paid, and will the Plaintiff Settlement Class Representatives receive

incentive awards?

 

Class Counsel have prosecuted this case on a contingency basis Thcy have not received any fees or reimbursement
for any of the costs and expenses associated with this casc. Class Counsel will request an award of reasonable attorney
fees and reasonable costs and expenses of this Lawsuit (""Fces and Expenses") from the Court in an amount no greater
than twenty-two million five hundred thousand dollars ($22,500,000.00). Defendants will have thc opportunity to
oppose the amount of Class Counscl`s requested Fccs and Expenscs. You won’t have to pay these Fccs and Expcnses
Any Fees and Expenscs awarded to Class Counsel will not affect your Settlement amount.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 10 of 45 Page|D: 11804

Class Counsel will also apply to the Court for incentive awards to the named Plaintilfs, who have conditionally been
approved as Settlement Class Reprcsentativcs in the amount of $2,500.00 each, for their efforts in pursuing this
litigation for the benefit of the Settlement Class Any award for Class Counsel Fees and Expenses and any incentive
awards will be paid by Defendants and will not reduce any benefits available to you underthe Settlement.

Class Counsel’s motion for fees and expenses and Settlement Class Reprcsentative incentive awards will be filed by
September 27, 2018, and will be made available for review at www,TimingChainLitigation.coin.

SUPPORTING OR OBJECTING TO THE SETTLEMENT

17. How do l tell the Court that l like or dislike the Settlement?

If you are a member of the Settlement Class and do not request to be excluded, you can tell the Court you like the
Settlement and it should be approved, or that you object to the Settlement or Class Counsel’s requests for fees and
expenses and Settlement Class Reprcsentative incentive award, if you do not like a part of it. You are not required to
submit anything to the Court unless you are objecting or wish to be excluded from the Settlement.

To object, you must send a letter to the Court with copies to the Class Counsel and defense counsel listed below, saying
that you are objecting to the Settlement In Re Volkswagen Timing Chain Prodzicr Li`abl'liry Lii‘i'gati`on, Civil Action
No. l6-2765(JLL)(JAD), and your objection must include your full name, current address and telephone number, the
model year and VIN of your vehicle and proof that you own(ed) or lease(d) it, a statement of all your factual and legal
grounds for objecting, any documents and/or briefs supporting your objection, a statement of whether you intend to
appear at the Fairness Hearing, and your signature Any Settlement Class Member objecting to the Settlement must
also provide a detailed list of any other objections submitted by the objector, or the objector’s counsel, to any class
action Settlements submitted in any court in the previous five (5) years, or affirmatively state that the Settlement
Class Member or his or her counsel has not objected to any other class action Settlement in the previous five (5) years,
in the written materials provided with the objection If you intend to appear at the Fairness Hearing through counscl,
your comment must also state the identity of all attorneys representing you who will appear at the Fairness Hearing
Be sure to send your objection to the three different places set forth below such that it is postmarked no later than
October 12, 2018.

 

 

 

 

 

 

Court Class Counsel Defense Counsel
Clerk of the Court, James E. Cecchi Jeffrey L. Chase
United States District Court CARELLA BYRNE CECCHI CHASE KURSHAN HERZFELD
for the District of New Jerscy OLSTEIN BRODY & AGNELLO, & RUBIN LLC
Martin Luther King, Jr P.C. ` 354 Eisenhower Parkway
Federal Building and U.S. 5 Bccker Farm Road Suite 1100
Courthouse Roseland, NJ 07068 Livingston, NJ 07039
50 Walnut Street
Newark, NJ 07101

 

The filing of an objection allows Class Counsel or Counsel for Dcfendants to notice such objecting person for and
take his or her deposition consistent with the cheral Rules of Civil Procedure at an agreed-upon location before the
Fairness Hearing and to seek any documentary evidence or other tangible things that are relevant to the objection
Failure by an objector to comply with discovery requests may result in the Court striking said objector’s objection
and otherwise denying that person the opportunity to make an objection or be further hcard.

If you do not submit a written comment on or objection to the proposed Settlement or the application of Class Counsel
for incentive awards or attorney fees and expenses in accordance with the deadline and procedure set forth above,
you will waive your right to be heard at the Fairness Hearing and to appeal from any order or judgment of the Court
concerning the matter

 

18. What is the difference between objecting and excluding myself?

Objecting is simply telling the Court that you do not like something about the Settlement. You can object only if you
stay in the Settlement Class. Excluding yourself is telling thc Court that you do not want to be part of the Settlement
Class and the Settlement. If you exclude yourself, you have no basis to object because the case no longer affects you.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com §§

V3057 v,06 08.17,2018
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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 11 of 45 Page|D: 11805’ .'

FAIRNESS HEARI NG

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The Court will hold a Fairness Hearing at ll:()O a.m. on November 19, 2()18, at the United States District Court for
the District of New Jersey, Martin Luther King, Jr Federal Building and U.S. Courthouse, 50 Walnut Street, Newark,
New Jersey 07101, to determine whether the Settlement should bc finally approved. At this Fairness Hearing, the
Court will consider whether the Settlement is fair, reasonable and adequate The Court will also consider Class
Counsel’s application for Fees zuid Expenses and incentive awards to Class Reprcsentativcs

20 Do l have to come to the Fairness Hearing'>

No. Class Counsel will answer questions the Court may have But, you arc welcome to come at your own expense
provided you have not excluded yourself from the Settlement. lf you send an objection, you do not have to come to
Court to talk about 1t. You may also pay your own lawyer to attend, but it is not necessary

21 May l speak at the Fairness Hearing°

If you do not exclude yourself, you may ask the Court’s permission to speak at the Fairness Hearing concerning
the proposed Settlement or the application of Class Counsel for attorneys Fees and Expenses and Settlement Class
Reprcsentative incentive awards To do so you must send in a letter notice saying that it is your intention to appear at
the Fairness Hearing 111 lri Re Volkswagen f 1111ng ( hoirz l’rocl'iict liability litigation Civil Action No 16-2765(JLL)
(JAD) The letter notice must state the position you intend to present at the Fairness Hearing state the identities of all
attorneys who will represent you (ifany), and must include your full nainc, current address, telephone number, model
year and VIN of your vehicle(s), and your signature You must send your letter notice to the Clerk of the Court, Class
Counsel, and defense counsel at the three addresses listed under Question 17 above, such that it is postmarked no
later than October 12, 2018. You may combine this notice and your comment (described under Question 17) in a
single letter You cannot speak at the Fairness Hearing if you excluded yourself from the Settlement.

IF YOU DO NOTHl NG

22 What happens if l do nothing at all°

lf you do nothing, you will be bound by the Settlement if the Court approves it.
MORE lNFORMATlON

 

23. Where can | get more information?

Visit the website at www.TimingChainLitigatiori.com where you can submit a claim online, find extra Claim
Forms and more information on this litigation and Settlement. Updates regarding the case will be available at
www.TimingChainLitigation.com. You may also call the Claims Administrator at 1-855-206-9873 or einail
iiifo@TiiiiingChainLitigation.coin.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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CLAIM FORM

Volkswagen Timing Chain/Timing Chain Tensioner Claim Form
Instructions:

Carcfully read each below Section, fill in all applicable fields, and provide the necessary supporting documentation
described iii Section lV. Once complete, send via U.S. Mail, postmarked no later than January 25, 2019, to:

Volkswagen Timing Chain Settlement
Claim Administrator
PO Box 3656
Portland, OR 97208-3656

Alternatively, you may electronically file a Claim Form through the Settlement website at
ivivw.limingCh ainLitigation.com, on or before January 25, 2019.

Please note that all fields iii Sections I-V are required unless otherwise statcd. Only submit one form per Vehicle
Identification Number.

l. CONTACT AND VEH|CLE lNFORMATlON:

Priinary Owner/Lessee First: Ml: Last:

‘,ee n f banker
MI:

Last:

 

 

 

 

 

Secondary Owner/Lessee First (it` a oplicable):

 

 

 

 

Compan_v Naine (if applicable): ~

 

 

Address 1;

\Zaa MTEWT FORK BEELH FoKL LOAD

Address 2:

 

 

 

 

 

City: l State: ZIP Code:
EA§r LWNN WV 2561

Email:

t¥ri€je§@do\.eom

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Phone Nuniber;
soa-BWQ-S€\q
Vehicle Identification Number (VIN):

wvwkraAntAEsqqizq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 
 

OUT-OF-POCKET EXPENSES FOR REPA|R OR REPLACEMENT OF TlMlNG CHA|N, TlMlNG CHAIN
TENS|ONER, OR SIMULTANEOUS REPA|R OR REPLACEMENT OF BOTH.

  

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lf you did not incur out-of-pocket expenses for repair of a timing chain or timing chain tension§r, skip this ctiq:§'jF€

, ' 2 j jo
A, Claim for Re air or Re laceinent of ONLY Tiinin Cliain: 56 6 ML/ 05 6

l. How much did you pay for parts and labor in connection with the repair or replacement of a failed timing chain
related to the Settlement Class Vehicle associated with the VIN you provided in Section lof this Claim Forin‘?

$ .

 

 

 

 

 

 

 

 

 

 

 

 

V Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com _~_,- ~_
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85 99'
2. What was the date of the repair?

 

MM DD YYYY
3, What was the odometer mileage of the vehicle at thc time of the repair‘l (Miles)

 

 

 

 

 

 

 

4. What is the contact information of the repair facility‘?
Repair Facility Name:

 

 

Repair Facility Address:

 

 

Cit_v: Statc: ZIP Codc:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Re pair Facility Plione Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5_ Was the repair facility an authorized Volkswagen dealer?
j:| Yes j:| No

B. Claim for Repair or Ret)lacement of ONLY Timing Chain Tcnsioner:

l. How much did you pay for parts and labor in connection with the repair or replacement of a failed timing chain
tensioner related to the Settlement Class Vehicle associated with the VlN you provided in Section l of this Claim
Form‘?

$ .

2. What was the date of the repair?

 

 

 

MM DD YYYY
3. What was the odometer mileage ot` the vehicle at the time of the rcpair? (l\/l'ilcs)

 

 

 

 

 

 

 

4. What is the contact information of the repair facility‘?
Repair Facility Name:

 

 

Repair Facility Addrcss:

 

 

City: State: ZIP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Plione Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dcaler‘l

j:|ch j:| No

 

l. How much did you pay for parts and labor in connection with the simultaneous repair or replacement of a failed
timing chain and timing chain tensioner related to the Settlement Class Vehicle associated with the VIN you provided
in Section l of this Claim Form?

$ .

 

 

 

 

 

 

 

 

 

 

 

V Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com
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*759210985199'
2. What was the date of the repair?

 

 

MM DD YYYY
3, What was the odometer mileage of the vehicle at the time of the repair? (Miles)

 

 

 

 

 

 

4_ What is the contact information of the repair facility?
Repair Facility Name: '

 

 

Repair Facility Address:

 

 

City: State: ZIP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Phone Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dealer?

I:| Yes I:| No

OUT-OF-POCKET EXPENSES TO REPA|R OR REPLACE DAMAGED OR FAILED ENG|NE DUE TO
FA|LURE OF THE TlMlNG CHAIN OR TlMlNG CHAIN TENS|ONER.

If you did not incur out-of~pocket expenses to repair or replace a damaged or failed engi e due to fa ure oft e timing
chain or timing chain tensioner, skip this section. § dam
c)€€/ 60 7

        

 
   

l. How much did you pay for parts and labor in connection with the repair or replacement of a damaged or failed engine
due to the failure of the timing chain or timing chain tensioner related to the Settlement Class Vehicle associated with
the VIN you provided in Section I of this Claim Form?

$ .

2. What was the date of the repair?

 

 

 

MM DD YYYY
3. What was the odometer mileage of the vehicle at the time of the repair? (Miles)

 

 

 

 

 

 

 

4. What is the contact information of the repair facility?
Repair Facility Name:

 

 

Repair Facility Address'.

 

 

City: State: ZIP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Phone Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dealer‘?

I:| Yes [:| No

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com E~_-§§~_

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lV. PROV|DE REPA|R RECEIPT(S) OR OTHER PAPERWORK (OR|G|NAL OR COPIES) REGARD|NG

 

ln order to obtain the benefits provided for in the Settlement Agreement, your supporting documentation must show:

The date and vehicle mileage at the time of the repair',

The name, address__ and telephone number of the facility that performed the repair;

The year, make, model, and Vehicle ldentification Number (VIN) of your vehicle;

Proof of ownership or lease of the vehicle;

The parts repaired or replaced (i.e., the timing chain and/or timing chain tensioner), as applicable to your

vehicle under the terms of the Settlement. lf reimbursement is sought for a damaged or failed engine due

to a timing chain and/or timing chain tensioner failure, your documents must also reflect that the engine

damage or failure that required repair/replacement was due to a failure of the timing chain tensioner and/or

timing chain.

° Proof of payment including the amount paid for repair ( parts and labor) and the date and manner of payment;
and

- Documents evidencing your adherence to the relevant aspects of the vehicle maintenance schedule during

the time you owned or leased the vehicle, in particular, scheduled oil changes, up to the date/mileage of

replacement/repair, within a variance of 10% of the scheduled time/mileage maintenance requirements

However, in the event maintenance records cannot be obtained despite a good faith effort to obtain them,

you may submit a sworn declaration detailing why thc records are not available and attesting to adherence

to the vehicle maintenance schedule and, in particular, scheduled oil changes, up to the date/mileage of

rcplacement/repair, within thc variance set forth above,

V. CERT|FICAT|ON:

All the information that I (we) supplied in this Claim Form is true and correct to the best of my (our) knowledge and
belief and this document is signed under penalty of perjury.

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M%a%% a…~… we

MM DD YYYY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signature of Primary Owner/Lessee

 

 

 

 

 

 

 

 

 

 

 

 

 

Date

 

 

 

MM DD YYYY

 

Signature of Secondary Owner/Lessee (it` applieable)

Questions? Call ]-855-206-9873 or visit www.TimingChainLitigation.com
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Case 2:16-cV-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 16 of 45 Page|D: 11810

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CUSTOMER #: 3046384747
Honda Volkswagen
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J SEPH DEHART 5210 u.S. notiTE 60 EAST, P.O. Box 639

1238 RIGHT FoRK BEACH FoRK RD Hu
EAST LYNN, wv 255i2 PAGE i N“NEKW'WVZSHH
(304) 736~5244

HOME:304~638-4747 CONT:304-638-4747
SERV|CE ADV|SOR:_ 410 JAMES T PARSLEY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

BUS: CELL:304-638-4747

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A CUST STA'I'ESKEY AND LOCK I'NOP .
999 PEROMFRED DIAG AND REPAIRED WIRING ON TRUNK

LATCH NEEDS NEW KEY AND-nas TIMIGN coons FoR
MoToR in sYsTBM g _
1 iio.oO ’iio.Oe.

496 CVW
, , , ,106815 veh been bumped in rear. found broken wires to latch.
,repaired wires and still has key issues. priced out l{ey.v Checked key

,and unlock button inop. also had timing codesstores and a slight

, , , , timing chain noise
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"Any warranties on the producttsl sold hereby are those warranties by the manufacturer, and/or §_E_R_v_'C_E-|._LQ_U_R§ GAS' O||_l LUBE

 

 

those implied warranties required by state er federal |aw. Sal|er does not expressly warrant the
MoNoAY - i=RiDAY sueter AiyiouNT 0 . O 0

 

 

 

 

 

 

 

 

product(si sold herabyl but does provide those warranties required by Wast Virginia law. No oral

warranties have bean created by the sel|sr. or its agents employeesl o_r representatives end buY€rlSl

agrees and acknowledges that no oral statements inconsistent herewith ave been made and shall M’SC CHARGES 9 90

not create any warranty or obligation on seller." 7130 A_N|, . 5:30 P.M. ' ’
AUTHURlZATlON FOR REPA|RS TO"'A\_ CHARGES 119 ' 9 0

l hereby authorize the repair work herein set forth to bc doni.i along with the necessary material and a ree that

you are nor responsible for loss cr damage to vehicle or articles left in ,veliicle in case of hrc. the l_ or any LESS |NSURANCE 0 0 0

other cause beyond your control or for any delays caused by urlavallabllllv of DBI'¥§ Of delays ll'l paris '

shipments by the supplier or rransponer_ | hereby grant you and/or your employees permission to operate the

vehicle herein described un siieets, highways or elsewhere for the purpose ol testing and/or insoec\ion. Ari SALES TAX 7 , l 9

express mechanlc's lien is hereby acknowledged on above vehicle to secure the amount of repairs thereto. The _ .

dealership is riot responsible for damages from freezing due to lack et entiireeze. CUSTOMER SlGNATURE PLEASE PAY

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CUSTOMER COPY

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PRO|VllSSOFlY NOTE

 

References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
Any item above containing "*'*" has been omitted due to text length limitations.

Borrower: Joseph A. Dehart Lender: The First State Bank
1238 Right Fork Beech Ford Road Main Office
East Lynn, WV 25512 660 Central Avenue, PO Box 295

Barboursvil|e, WV 25504

 

Principal Amount: $12,237.00 interest Rate: 8.100% Date of Note: August 19, 2016

PRONllSE TO PAY. l l"Borrower"l promise to pay to The First State Bank l"Lender"), or order, in lawful money of the United States of America,
the principal amount of Twelve Thousand Two Hundred Thirty-saven & OO/‘iOO Dollars ($12,237.00), together with interest on the unpaid
principal balance from August 19, 2016, calculated as described in the "lNTEFiEST CALCULAT|ON METHOD" paragraph using an interest rate
of 8.100% per annum, until paid in full. The interest rate may change under the terms and conditions of the "|NTEREST AFI'ER DEFAULT"
section.

PAYN'|ENT. l will pay this loan in 60 payments of $248.73 each payment. lVly first payment is due September 19, 2016, and all subsequent
payments are due on the same day of each month after that. My final payment will be due on August 19, 2021, and will be for all principal and
all accrued interest not yet paid. Payments include principal and interest. Unless otherwise agreed or required by applicable law, payments will
be applied first to any accrued unpaid interest; then to principal; and then to any late charges. l will pay Lender at Lender's address shown
above or at such other place as Lender may designate in writing.

lNTEREST CALCULATION METHOD. interest on this Note is computed on a 365/365 simple interest basis; that is, by applying the ratio of the
interest rate over the number of days in a year l365 for all years, including leap years), multiplied by the outstanding principal balance, multiplied
by the actual number of days the principal balance is outstanding. All interest payable under this Note is computed using this method.

PREPAYMENT. l agree that all loan fees and other prepaid finance charges are earned fully as of the date of the loan and will not be refunded to
me upon early payment iwhether voluntary or as a result of defaultl, except as otherwise required by law. Except for the foregoing, l may pay
without penalty all or a portion of the amount owed earlier than it is due. Early payments will not, unless agreed to by Lender in writing, relieve
me of my obligation to continue to make payments under the payment schedule. Hather, early payments will reduce the principal balance due
and may result in my making fewer payments. l agree not to send Lender payments marked "paid in full", "without recourse", or similar
language. li | send such a payment, Lender may accept it without losing any of Lender's rights under this Note/ and l will remain obligated to
pay any further amount owed to Lender. All written communications concerning disputed amounts, including any check or other payment
instrument that indicates that the payment constitutes "payment in ful|" of the amount owed or that is tendered with other conditions or
limitations or as full satisfaction of a disputed amount must be mailed or delivered to: The First State Bank, Main Office, 660 Central Avenuel

PO Box 295, Barboursville, WV 25504.
LATE CHARGE. lf a payment is 11 days or more late, l will be charged 5.000% of the unpaid portion of the regularly scheduled payment or
$30.00, whichever is less.

lNTEHEST AFTER DEFAULT. Upon maturity, whether scheduled or accelerated by Lender because of my default, the total sum due under this
Note will continue to accrue interest at the interest rate under this Note.

DEFAULT. | will be in default under this Note if any of the following happen:
Payment Default. l fail to make any payment When due under this Note.

Break Other Promises. l break any promise made to Lender or fail to perform promptly at the time and strictly in the manner provided in
this Note or in any agreement related to this Note, or in any other agreement or loan l have with Lender.

False Statements. Any representation or statement made or furnished to Lender by me or on my behalf under this Note or the related
documents is false or misleading in any material respect, either now or at the time made or furnished.

Death or lnsolvency, Any Borrower dies or becomes insolvent; a receiver is appointed for any part of my property; l make an assignment
for the benefit of creditors; or any proceeding is commenced either by me or against me under any bankruptcy or insolvency laws.

Taking of the Property. Any creditor or governmental agency tries to take any of the property or any other of my property in which Lender
has a lien. This includes taking of, garnishing of or levying on my accounts with Lender. However, if l dispute in good faith whether the
claim on which the taking of the property is based is valid or reasonable, and if l give Lender written notice of the claim and furnish Lender
with monies or a surety bond satisfactory to Lender to satisfy the claim, then this default provision will not apply_

Defective Collateralization. This Note or any of the related documents ceases to be in full force and effect (including failure of any collateral
document to create a valid and perfected security interest or lien) at any time and for any reason.

Collateral Damage or Loss. Any collateral securing this Note is lost, stolen, substantially damaged or destroyed and the loss, theft,
substantial damage or destruction is not covered by insurance.

Events Affectlng Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any guaranty of the indebtedness
evidenced by this Note.

lnsecurity. Lender in good faith believes itself insecure.

Cure Provisions. lf any default, other than a default in payment, is curable and if l have not been given a notice of a breach of the same
provision of this Note within the preceding twelve (12) months, it may be cured if l, after Lender sends written notice to me demanding
cure of such default: (il cure the default within ten l10) days; or (2) if the cure requires more than ten (10) days, immediately initiate
steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter continue and complete all
reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.

LENDER'S RlGHTS. Upon default, and subject to the cure and notice provisions of West Virginia Code section 46A-2-106, Lender may declare
the entire unpaid principal balance under this Note and all accrued unpaid interest immediately due, and then l will pay that amount.

GOVERN|NG LAW. This Note will be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the laws of
the State of West Virginia without regard to its conflicts of law provisions. This Note has been accepted by Lender in the State of West
Virginia.

CHOlCE OF VENUE. lf there is a lawsuit, | agree upon Lender's request to submit to the jurisdiction of the courts of Cabell County, State of
West Virginia.

FilGHT OF SETOFF. TO the extent permitted by applicable law, Lender reserves a right of setoff in all my accounts with Lender lwhether
checking, savings, or some other account)r This includes all accounts l hold jointly with someone else and all accounts l may open in the future.
However, this does not include any lFiA or Keogh accounts, or any trust accounts for which setoff would be prohibited by law. l authorize
Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the indebtedness against any and all such accounts,
and, at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and Setoff rights provided in this
paragraph.

COLLATERAL. l acknowledge this Note is secured by the following collateral described in the security instrument listed herein: a motor vehicle
described in a Consumer Security Agreement dated August 19, 2016.

SUCCESSOR lNTERESTS. The terms of this Note shall be binding upon me, and upon my heirs, personal representatives, successors and
assigns, and shall inure to the benefit of Lender and its successors and assigns.

NOTlFY US OF lNACCURATE lNFORMATlON WE REPORT TO CONSUMER REPORT|NG AGENClES. l may notify Lender if Lender reports any
inaccurate information about my account(s) to a consumer reporting agency. My written notice describing the specific inaccuracy(ies) should be
sent to Lender at the following address; FlFlST STATE BANK Main Office 660 Central Avenue, PO Box 295 Barboursville, WV 25504.

GENERAL PROVlSlONS. if any part of this Note cannot be enforced, this fact will not affect the rest of the Note. Lender may delay or forgo
enforcing any of its rights or remedies under this Note without losing them. l and any other person who signs, guarantees or endorses this
Note, to the extent allowed by law, waive presentment, demand for payment, and notice of dishonor. Upon any change in the terms of this
Note, and unless otherwise expressly stated in writing, no party who signs this Note, whether as maker, guarantor, accommodation maker or
endorser, shall be released from liability. All such parties agree that Lender may renew or extend (repeatedly and for any length of time) this
loan or release any party or guarantor or collateral; or impair, fail to realize upon or perfect Lender‘s security interest in the collatera|. All such

 

CaSe 2216-CV-02765-JLL-JAD DOCument 167 Filed 10/17/18 Page 20 Of 45 Page|D: 11814

PROM|SSORY NOTE g .
Loan No¢ 70991621 (Continued) Page 2

 

parties also agree that Lender may modify this loan without the consent of or notice to anyone other than the party with whom the modification
is made. The obiigations under this Note are joint and several. This means that the words l`l", “me", and “my" mean each and all of the
persons signing below. '

WEST V|RGlNlA lNSURANCE NOTICE. Unless l provide Lender with evidence of the insurance coverage required by my agreement with Lender,
Lender may purchase insurance at my expense to protect Lender's interests in the collateral. This insurance may, but need not, protect my
interests. The coverage that l_ender purchases may not pay any claim that l make or any claim that is made against me in connection with the
collateral. l may later cancel any insurance purchased by Lender, but only after providing Lender with evidence that l have obtained insurance
as required by our agreement. lf Lender purchases insurance for the collateral. l will be responsible for the costs of that insurance. including
interest and any other charges Lender may impose in connection with the placement of the insurance, until the effective date of the cancellation
or expiration of the insurance. The costs of the insurance may be added to my total outstanding balance or obligation. The costs of the
insurance may be more than the cost of insurance l may be able to obtain on my own.

PRlOR TO SlGNlNG TH|S NOTE, l READ AND UNDERSTOOD ALL THE PROV|SIONS OF THlS NOTE. l AGREE TO THE TERMS OF THE NOTE.
|ACKNOWLEDGE RECE|PT OF A COMPLETED COPY OF THlS PROM|SSORY NOTE.

BORROWER:

X Ma©ae&

..losepii `-A. Dehart b

 

La\evPro, Vsr lE.Z.l0.0'lE Copr. D+H USA CnlpD|h\inn 1397, 101& All Hiuh(s Heservad, - WV l:iCFl\LPL\DlQ.FC YR-§SS`I PR~4

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 21 of 45 Page|D: 11815

NOTlCE TO COS|GNER

 

 

 
   

 

 

 

References in the boxes above are for Lender`s use only and do not limit the applicability of this document to any particular loan or items
Any item above containing "*"‘" has been omitted due to text length limitations

 

 

 

Borrower: Joseph A. Dehart Lender: The First State Bank
1238 Right Fork Beech Ford Road Main Office
East Lynn, WV 25512 660 Central Avenue, PO Box 295

Barboursville, WV 25504

Guarantor: Tammy Frye
1244 Right Fork Beech Fork Road
East Lynn, WV 25512

 

NOTlCE TO COSlGNER

You are being asked to guarantee this debt. Think carefully before you do. lf the borrower doesn't pay the debt, you will have to. Be sure you
can afford to pay if you have to, and that you want to accept this responsibility.

You may have to pay up to the full amount of the debt if the borrower does not pay. You may also have to pay late fees or collection costs,
which increase this amount.

The Lender can collect this debt from you without first trying to collect from the borrower. The Lender can use the same collection methods
against you that can be used against the borrower, such as suing you, garnishing your wages, etc. lf this debt is ever in default, that fact may
become a part of YOUR credit record.

This notice is not the contract that makes you liable for the debt,

 

GUARANTOR:

_"“'\\ mm w : .

%\ \)°~~§"" >`\ §§ B>i iqiik(,`
Tammy Frye’:) "`* (:`3 Date

tma/Pru, v»¢, \B 2 'O 015 com o .-H uSA C\m»»m:run 79$`1, :o\s. All nights newman -Wv i;\crlxl.vttoi¢ Fc m assr erisa

 

C'ase 2:16-cv-O2765-.]LL-.]AD Document 167 Filed 10/17/18 Page 22 of 45 Page|D: 11816

CONSU|V|ER GUARANTY

Borrower: Joseph A. Dehart Lender: The First State Bank
1238 Right Fork Beech Ford Road Main Office
East Lynn, WV 25512 660 Central Avenue, PO Box 295

Barboursville, WV 25504

Guarantor: Tammy Frye
1244 Right Fork Beech Fork Road
East Lynn, WV 25512

 

GUARANTOR'S REPRESENTAT|ONS. l know that Lender, from time to time, has loaned or may loan money to Borrower. l am making this
Guaranty at the request of Borrower and not at'Lender's request. l am making this guaranty of payment so that Lender will loan money to
Borrower or agree to other requests of Borrower. l agree that Lender's willingness to make the loan to Borrower is enough consideration for my
giving of this Guaranty. No representations or agreements of any kind have been made to me which would limit or qualify in any way the terms
of this Guaranty.

GUARANTEE OF PAYMENT. For good and valuable consideration, l absolutely and unconditionally guarantee full and punctual payment and
satisfaction of the indebtedness of Borrower to Lender. This is a guaranty of payment and not of collection, so Lender can enforce this
Guaranty against me even when Lender has not exhausted Lender's remedies against anyone else obligated to pay the indebtedness or against
any collateral securing the lndebtedness, this Guaranty or any other guaranty of the lndebtedness. l will make any payments to Lender or order,
on demand, in legal tender of the United States of America, in same-day funds, without set-off or deduction or counterclaim,

lNDEBTEDNESS. The word "lndebtedness" as used in this Guaranty means Promissory note dated August 19, 2016.

NATURE OF GUARANTY. Lender does not have to accept this Guaranty to make it effective. lt will be effective when l sign below and will
continue in effect until all amounts l have guaranteed or otherwise have agreed to pay under this Guaranty have been paid in full.

GUARANTOR'S AUTHORIZATlON TO LENDER. l agree that Lender may do any or all of the following things, without telling me and without in
any way lessening my promise to pay Lender: (A) Extensions to Pay. Lender may repeatedly grant Borrower more time to pay, and extensions
may be for longer than the original loan term. (Bl Renewals. Lender may renew any notes or agreements with Borrower. lC) Releases.
Lender may release any property or guaranty that secures any amounts due from Borrower. (D) Other Actions. Lender may take any other
action under the terms of any agreement Lender has with Borrower or with any other guarantor. (E) increase interest Rate. Lender may
increase or otherwise change the interest rate on any amounts owed to Lender. (Fl Change Loan Terms. Lender may otherwise alter or amend
the terms of Borrower's debt to Lender. (Gl Sell the Loan Lender may sell, transfer or grant participations in all or any part of the
lndebtedness, and this Guaranty may be transferred in whole or in part to the purchaser. (H) Loan More Money. Lender may loan more money
to Borrower and make new advances to Borrower.

GUARANTOR'S WA|VERS. l agree that Lender will have the following rights, and that l am giving up the following rights: lA) information
about Borrower. Lender does not have to tell me about any defaults of Borrower or any other information it now knows or later learns about
Borrower's financial condition. | am responsible for being and keeping myself informed about Borrower's financial condition and about all other
matters which may affect the risk that Borrower will not be able to pay the amounts l am guaranteeing under this Guaranty. (B) Direct
Guaranty. lf Borrower is in default under any agreement between Borrower and Lender, Lender may collect the amounts owed by Borrower
directly from me. | will have to pay such amounts even if Lender does not try to collect from Borrower or from any other guarantor or even if
Lender does not foreclose on any security. Any delay of Lender in collecting from Borrower or pursuing any other remedy will not change my
responsibility to pay Lender under this Guaranty. This will be true even if l cannot legally pursue the remedy myself. (Cl Lender Paid First. lf
Borrower owes me money, l agree Lender will be paid before l am. |n legal terms, this means Borrower's debts to me are subordinated to
Borrower's debts to Lender. (D) Continuing Liability. l waive any defense that arises because of any disability or any other defense of Borrower
or because Borrower is no longer liable to Lender for any reason.` | specifically waive any rights or defenses under any law, including any "one
action" and "anti-deficiency" law which may prevent Lender from bringing a deficiency action against me after bringing any foreclosure action,
either judicially or by exercise of a power of sale. (E) Counterclaims. l further waive and, to the extent not prohibited by |aw, agree not to
assert or claim at any time any deduction to the amount guaranteed under this Guaranty for any claim of setoff, counterclaim, or similar right,
whether such claim or right may be asserted by Borrower, by me, or by both of us. (Fl impairment of Collateral. l also waive any right to claim
a discharge of my Guaranty on the basis of unjustifiable impairment of any Collateral securing any amounts due from Borrower. This includes
without limitation waiver of any right to require Lender to perfect or maintain perfection of any security interest in any such Collateral. (Gl
Notices. l waive any requirement of Lender to give me notice of the terms, time, and place of any public or private sale of any collateral
securing the Note or to comply With any other applicable provisions of the Uniform Commercial Code. (Hl Other Waivers. l understand Lender
will not give up any of its rights under this Guaranty unless it does so in writing. The fact that Lender delays or omits to exercise any right will
not mean that Lender has given up that right. lf Lender does agree in writing to give up one of its rights, that does not mean l will not have to
comply with the other provisions of this Guaranty. l also understand that if Lender does consent to a request, that does not mean that | will not
have to get Lender's consent again if the situation happens again. l further understand that just because Lender consents to one or more of my
requests, that does not mean Lender will be required to consent to any of my future requests. l waive presentment, demand for payment,
protest, and notice of dishonor.

GUARANTOR’S FlNANClAL STATEMENTS¢ l represent and promise Lender that (A) the most recent financial statements l have given to
Lender are true and correct in all respects, (Bl they fairly present my financial condition as of the date shown on the statements, and (C) no
material adverse change has occurred in my financial condition since that date.

MlSCELLANEOUS PROVlS|ONS. The following miscellaneous provisions are a part of this Guaranty:

Amendments and lnterpretation. (‘ll What is written in this Guaranty is my entire agreement with Lender. This Guaranty may not be
changed except by another written agreement between us. (2) if more than one person signs below, our obligations are joint and several.
This means that the words "l," "me," and "niy" mean each and every person or entity signing this Guaranty, and that, if Lender brings a
lawsuit, Lender may sue any one or more of us. l also understand Lender need not sue Borrower first, and that Borrower need not be
joined in any lawsuit. (3) The names given to paragraphs or sections in this Guaranty are for convenience purposes only. They are not to
be used to interpret or define the provisions of this Guaranty, (4) l agree that this Guaranty is the most reliable evidence of my agreements
with Lender. lf a court finds that any provision of this Guaranty is not valid or should not be enforced, that fact by itself will not mean that
the rest of this Guaranty will not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this Guaranty even if a
provision of this Guaranty may be found to be invalid or unenforceable.

Governing Law. This Guaranty will be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the
laws of the State of West Virginia without regard to its conflicts of law provisions.

Choice of Venue. lf there is a lawsuit, l agree upon Lender's request to submit to the jurisdiction of the courts of Cabell County, State of
West Virginia.

Caption Headings. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
provisions of this Guaranty.

No Waiver by Lender. l understand Lender will not give up any of Lender's rights under this Guaranty unless Lender does so in Writing.
The fact that Lender delays or omits to exercise any right will not mean that Lender has given up that right. lf Lender does agree in writing
to give up one of Lender`s rights, that does not mean l will not have to comply with the other provisions of this Guaranty. l also
understand that if Lender does consent to a request, that does not mean that l will not have to get Lender's consent again if the situation
happens again. l further understand that just because Lender consents to one or more of my requests, that does not mean Lender will be
required to consent to any of my future requests. l waive presentment, demand for payment, protest, and notice of dishonor.

Notices. Any notice required to be given under this Guaranty shall be given in writing, and shall be effective when actually delivered, when
actually received by telefacslmile (unless otherwise required by |awl, when deposited with a nationally recognized overnight courier, or, if
mailed( when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
shown near the beginning of this Guaranty. Any person may change his or her address for notices under this Guaranty by giving formal
written notice to the other person or persons, specifying that the purpose of the notice is to change the person's address. For notice
purposes, l agree to keep Lender informed at all times of my current address. Unless otherwise provided or required by law, if there is
more than one Guarantor, any notice given by Lender to any Guarantor is deemed to be notice given to all Guarantors. lt will be my

responsibility to tell the others of the notice from Lender.

THE FOLLOWlNG NOTlCE lS REQUIRED BY WEST VlRGlNlA LAW: Unless l provide Lender with evidence of the insurance coverage required by
my agreement with Lender, Lender may purchase insurance at my expense to protect Lender`s interests in the collateral. This insurance may,
but need not, protect my interests. The coverage that Lender purchases may not pay any claim that l make or any claim that is made against
me in connection with the collateral. l may later cancel any insurance purchased by Lender, but only after providing Lender with evidence that l
have obtained insurance as required by our agreement lf Lender purchases insurance for the collateral. l will be responsible for the costs of that

 

Ca$e 2216-CV-02765-JLL-JAD DOCUment 167 Filed 10/17/18 Page 23 Of 45 Page|D: 11817

CONSU|VlER GUARANTY
Loan No: 70991621 (Continued) Page 2

 

insurance, including interest and any other charges Lender may impose in connection with the placement of the insurance, until the effective
date of the cancellation or expiration of the insurance, The costs of the insurance may be added to my total outstanding balance or obligation.
The costs of the insurance may be more than the cost of insurance l may be able to obtain on my own.

DEFiNlTlONS. The following words shall have the following meanings when used in this Guaranty:

Borrower. The word "Borrower" means Joseph A. Dehart and includes all co-signers and co-makers signing the Note and all their
successors and assigns.

Collateral. The word "Collateral" means all of my right, title and interest in and to all the Collateral as described in the Collateral
Description section of this Guaranty.

Guarantor. The word "Guarantor" means everyone signing this Guaranty, including Without limitation Tammy Frye, and in each case, any
signer’s successors and assigns.

Guaranty. The Word "Guaranty" means this guaranty from me to Lender.
lndebtedness. The word "|ndebtedness" means Borrower's indebtedness to Lender as more particularly described in this Guaranty.

Lender. The word "Lender“ means The First State Bank, its successors and assigns, The words "successors or assigns" mean any person
or company that acquires any interest in the Note.

Note. The word "Note" means the note or credit agreement dated August 19, 2016, in the principal amount of $12,237.00 from Joseph
A. Dehart to Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of and substitutions for
the note or credit agreement.

PR|OR TO SlGNlNG THlS GUARANTY, l READ AND UNDERSTOOD ALL THE PROVlSlONS OF THlS GUARANTY AND THE ATTACHED NOTlCE
TO COS|GNER. lN ADD|TiON. i UNDERSTAND THAT THlS GUARANTY lS EFFECTlVE UPON MY SlGNlNG THlS AGREEMENT AND THAT THE
GUARANTY WlLl_ CONT|NUE UNTlL TERMlNATED AS SET FORTH lN THE SECT|ON TlTLED "NATURE OF GUARANTY". l AGREE TO ALL THE
TERN|S AND COND|T|ONS OF THlS GUARANTV. THlS GUARANTY lS DATED AUGUST 19, 2016.

GUARANTOR:

§§

Tammy Fryé/

 

 

 

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References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
Any item above containing "* **" has been omitted due to text length limitations.

 

GrantOr! Joseph A. Dehart Lender: The First State Bank
1238 Right Fork Beech Ford Road Main Office
East Lynn, WV 25512 660 Central Avenue, FO Box 295

Barboursviile, WV 25504

 

THlS CONSUlVlER SECURITV AGREEMENT dated August 19, 2016, is entered into between Joseph A. Dehart (referred to below as "l") and The
First State Bank (referred to below as "Lender").

GRANT OF SECURlTV lNTEREST. To secure the lndebtedness described herein (including all obligations under the Note and this Agreement), l
grant to Lender a security interest in all of the Property described below. l understand that the following statements set forth my
responsibilities, as well as Lender's rights concerning the Property. l agree as follows:

PROPERTY DESCR|PT|ON. The word "Property" as used in this Agreement means the following described property in which l am giving to
Lender a security interest for the payment of the indebtedness and performance of all other obligations under the Note and this Agreement:

2010 Volkswagen CC Sport 4Dr (VlN WVWNP7AN6AE549159)

ln addition, the word "Property" also includes all the following: any and all accessions, attachments, accessories, replacements of and additions
to any of the property described herein (such as tires or batteries attached to a car, a motor attached to a boat, or appliances and fixtures
attached to a mobile home), whether added now or later, together with all proceeds (including insurance proceeds and refunds of insurance
premiumsl if any, and sums due from a third party who has damaged or destroyed the Property or from that party's insurer, whether due to
judgment, settlement or other process.

Despite any other provision of this Agreement, Lender is not granted, and will not have, a nonpurchase money security interest in household
goods/ to the extent such a security interest Would be prohibited by applicable law. ln addition, if because of the type of any Property, Lender is
required to give a notice of the right to cancel under Truth in Lending for the lndebtedness, then Lender will not have a security interest in such
Property unless and until such a notice is given.

FilGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all my accounts with Lender (whether
checking, savings, or some other account). This includes all accounts l hold jointly with someone else and all accounts l may open in the future.
However, this does not include any lRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by law. l authorize
Lender, to the extent permitted by applicable law, to charge or setoff ali sums owing on the indebtedness against any and all such accounts,
and, at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff rights provided in this
paragraph.

REPRESENTAT|ONS AND PROMlSES WlTH RESPECT TO THE PROPERTY. l represent and promise to Lender that:

Ownership. l am the lawful owner of the Property. The Property is free and clear of all loans, liens, security interests, mortgages, claims,
and encumbrances except for those l have disclosed to Lender in writing prior to my signing this Agreement. l agree to defend Lender's
rights in the Property against the claims and demands of all persons, l will not allow any other liens on the Property, even if they are junior
to Lender's lien. l have the full authority and right to enter into this Agreement and to grant a security interest in the Property to Lender.

No Sa|e. Without Lender's prior written consent, l will not sell, lease, transfer, borrow against, or otherwise dispose of any of my rights in
the Property unless and until all the indebtedness is paid in full.

Location of the Property. Except for vehicles, l agree to keep the Property at my address shown above unless Lender tells me l can move
it. lf the Property is a vehicle, l will keep the Property at those addresses except for routine travel. l will not do anything that requires
applying for a certificate of title for the vehicle in another state. lf l move from my address shown above to another location within the
same state, | may move the Property to my new address, but only if l give Lender the new address in writing prior to my moving. |n any
event, l agree to keep Lender informed at all times of my current address.

Nlaintenance and |nsurance. | will keep the Property in good condition and repair. lf the Property is damaged, lost or stolen, l immediately
will inform Lender. l will keep the Property fully insured against all loss or damage by fire, theft, collision, and such other hazards as Lender
may require from time to time. The insurance will be on terms, including deductible provisions and endorsements, that are satisfactory to
Lender, including stipulations that coverages will not be cancelled or diminished without at least fifteen (15l days prior written notice to
Lender and not including any disclaimer of the insurer's liability for failure to give such notice. l understand l may obtain insurance from
any insurance company l may choose that is reasonably acceptable to Lender. l will provide Lender with the original insurance policy, or
other proof satisfactory to Lender of the insurance coverage, together with all endorsements required by Lender, including an endorsement
naming Lender as the party to whom all losses will be paid. lf Lender receives a refund of any insurance premiums, l agree that the refund
is Property covered by this Agreement. Lender may apply the refund to payment of any of the lndebtedness. Any insurance policy which l
deliver to Lender will be held to secure payment of the indebtedness Until all indebtedness is paid in full, Lender is authorized, but shall
not be required, to file any proof of loss, adjust any loss, receive and receipt for any sum payable, surrender any policy, discharge and
release any insurer, endorse any loss or refund check or draft, and in general do in my name, or otherwise, any and all things with respect
to the insurance or any insurance proceeds.

Licensing and Governmental Regulations. l agree to keep the Property licensed at all times as required by all applicable state and federal
laws. ln addition, l agree to pay when due all license fees, taxes and assessments relating to the Property or the use of the Property. l
further agree that the Property will not be used for any unlawful purpose or in violation of any statute, law, ordinance, or regulation relating
to the use, operation, or control of the Property.

lnspection. l agree that Lender or Lender's agents shall have the right from time to time to inspect the Property wherever located.

Financing Statements. l authorize Lender to file a UCC financing statement, or alternative|y, a copy of this Agreement to perfect Lender's
security interest. At Lender's request, l additionally agree to sign all other documents that are necessary to perfect, protect, and continue
Lender's security interest in the Property. l Will pay all filing fees, title transfer fees, and other fees and costs involved unless prohibited by
law or unless Lender is required by law to pay such fees and costs. l irrevocably appoint Lender as my attorney-in-fact to execute
documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financing statement. l will
promptly notify Lender of any change to my name or the name of any individual Grantor, any individual who is a partner for a Grantor, and
any individual who is a trustee or settlor or trustor for a Grantor under this Agreement. l will also promptly notify Lender of any change to
the name that appears on the most recently issued, unexpired driver's license or state-issued identification card, any expiration of the most
recently issued driver`s license or state-issued identification card for me or any individual for whom l am required to provide notice
regarding name changes.
LENDER'S EXPEND|TURES. lf l fail (A) to keep the Property free of all taxes, liens, security interests, encumbrances, and other claims, (B) to
provide any required insurance on the Property, or (C) to make repairs to the Property then Lender may do so. lf any action or proceeding is
commenced that would materially affect Lender's interests in the Property, then Lender on my behalf may, but is not required to, take any action
that Lender believes to be appropriate to protect Lender's interests. All expenses incurred or paid by Lender for such purposes will then bear
interest at the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by me. All such expenses will
become a part of the indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be
apportioned among and be payabie with any installment payments to become due during either (1) the term of any applicable insurance policy;
or (2) the remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity. The
Agreement also will secure payment of these amounts. The rights provided for in this paragraph shall be in addition to any other rights or any
remedies to which Lender may be entitled on account of any default. Any such action by Lender shall not be construed as curing the default so
as to bar Lender from any remedy that it otherwise would have had.

DEFAULT. l will be in default if any of the following happens:
Payment Default. l fail to make any payment when due under the indebtedness

Break Other Promises. l break any promise made to Lender or fail to perform promptly at the time and Strictly in the manner provided in
this Agreement or in any agreement related to this Agreement.

False Statements. Any representation or statement made or furnished to Lender by me or on my behalf under this Agreement or the
Related Documents is false or misleading in any material respect, either now or at the time made or furnished.

Death or |nsolvency. l die or become incompetent or insolvent, a receiver is appointed for any part of my property, l make an assignment

 

 

Case 2:16-cv-O2765-.]LL-.]AD Document 167 Filed 10/17/18 Page 25 of 45 PagelD: 11819

\,JONSUN|ER SECUR|TY AGREEiVlL___ i'

Loan No: 70991621 {COntinued) Page 2

 

for the benefit of creditors, or any proceeding is commenced either by me or against me under any bankruptcy or insolvency laws.

Taking of the Property. Any creditor or governmental agency tries to take any of the Property or any other of my property in which Lender
has a lien. This includes taking of, garnishing of or levying on my accounts with Lender. However, if l dispute in good faith whether the
claim on which the taking of the Property is based is valid or reasonable, and if l give Lender written notice of the claim and furnish Lender
with monies or a surety bond satisfactory to Lender to satisfy the claim, then this default provision will not appiy.

Defective Collateralization. This Agreement or any of the Fielated Documents ceases to be in full force and effect (including failure of any
collateral document to create a valid and perfected security interest Or lienl at any time and for any reason.

Property Damage or Loss. The Property is lost, stolen, substantially damaged, sold, or borrowed against,
lnsecurity. Lender in good faith believes itself insecure.

Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the indebtednessl

Cure Provisions. if any default, other than a default in payment, is curable and if l have not been given a notice of a breach of the same
provision of this Agreement within the preceding twelve (12l months, it may be cured if l, after Lender sends written notice to me
demanding cure of such defauit: (1) cure the default within ten (10) days; or (2) if the cure requires more than ten (lO) days,
immediately initiate steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter continue and
complete all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.

LENDER‘S RiGHTS. l may keep and use the Property so long as l am not in default under this Agreement. if i am in default, this is what Lender
may do, in addition to any other rights Lender may have:

Accelerate indebtedness Lender may, subject to the cure and notice provisions of West Virginia Code Section 46A-2-106, declare all
indebtedness immediately due and payable,

Other Rights and Remedies. in addition, Lender will have all the rights of a secured party under the Uniform Commercial Code and other
applicable law. This means, among other rights, that Lender may enter upon the premises at the address shown above and take the
Property peaceably and sell it. Lender may also, to the extent permitted by law, enter peaceably upon other premises for the purpose of
retaking the Property, and l consent to such entry. lf the Property contains any goods not covered by this Agreement at the time of
repossession, l agree that Lender may take such goods, provided that Lender makes reasonable efforts to return them to me after
repossession lf Lender asks me to do so, l will gather the Property and make it available to Lender at a place reasonably convenient to
both Lender and me.

Appiication of Proceeds. lf Lender sells the Property, Lender will apply the "net proceeds" of the sale to reduce the amount owed Lender.
"Net proceeds" means the sale price less the expenses of repossession, repair, sa|e, and as provided below, permissible fees and other
collection expenses. l agree that, to the extent permitted by law, l will owe Lender any difference between the amount of the indebtedness
and the net proceeds Lender receives from the sale of the Property.

Notice. Unless the Property threatens to decline speedily in value or is of a type customarily sold on a recognized market, Lender will give
me, and other persons as required by law, reasonable notice of the time and place of any public sale or of the time after which any private
sale or any other intended disposition of the Property is to be made. The requirements of reasonable notice shall be met if such notice is
given at least ten (lO) days before the time of the sale or disposition, except as otherwise required by applicable law.

lVilSCELLANEOUS PROVlSlONS. The following miscellaneous provisions are a part of this Agreement:

Amendments and lnterpretation. (1) What is written in this Agreement is my entire agreement with Lender concerning the Property. This
Agreement may not be changed except by another written agreement between us. (2) |f more than one person signs below, our
obligations are joint and several. This means that the words "l," "me," and “my" mean each and every person or entity signing this
Agreement, and that, if Lender brings a lawsuit, Lender may sue any one or more of us. l also understand Lender need not sue Borrower
first, and that Borrower need not be joined in any lawsuit. l3) The names given to paragraphs or sections in this Agreement are for
convenience purposes only. They are not to be used to interpret or define the provisions of this Agreement. l4) l agree that this

Agreement is the most reliable evidence of my agreements with Lender.

Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
provisions of this Agreement.

Governing Law. This Agreement will be governed by federal law applicable to Lender and, to the extent not preempted by federal lawl the
laws of the State of West Virginia without regard to its conflicts of law provisions. This Agreement has been accepted by Lender in the
State of West Virginia.

Choice of Venue. if there is a lawsuit, l agree upon Lender`s request to submit to the jurisdiction of the courts of Cabell County, State of
West Virginia.

Noticesr Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
when actually received by telefacsimile (unless otherwise required by law), when deposited With a nationally recognized overnight courier,
or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
shown near the beginning of this Agreement. Any person may change his or her address for notices under this Agreement by giving formal
written notice to the other person or persons, specifying that the purpose of the notice is to change the person's address. For notice
purposes, l agree to keep Lender informed at all times of my current address. Unless otherwise provided or required by law, if there is
more than one Grantor, any notice given by Lender to any Grantor is deemed to be notice given to all Grantors. it will be my responsibility
to tell the others of the notice from Lender.

No Waiver by Lender. l understand Lender will not give up any of Lender's rights under this Agreement unless Lender does so in writing.
The fact that Lender delays or omits to exercise any right will not mean that Lender has given up that right. if Lender does agree in writing
to give up one of Lender`s rights, that does not mean l will not have to comply with the other provisions of this Agreement. l also
understand that if Lender does consent to a request, that does not mean that l will not have to get Lender's consent again if the situation
happens again. l further understand that just because Lender consents to one or more of my requests, that does not mean Lender will be
required to consent to any of my future requests. l waive presentment, demand for payment, protest, and notice of dishonor.

Severability. lf a court finds that any provision of this Agreement is not valid or should not be enforced, that fact by itself will not mean
that the rest of this Agreement will not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this Agreement
even if a provision of this Agreement may be found to be invalid or unenforceable.

Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of my interest, this Agreement shall be binding
upon and inure to the benefit of the parties, their successors and assigns. if ownership of the Property becomes vested in a person other
than me, Lender, without notice to me, may deal with my successors with reference to this Agreement and the indebtedness by way of
forbearance or extension without releasing me from the obligations of this Agreement or liability under the indebtedness

Time is of the Essence. Time is of the essence in the performance of this Agreement.

DEFiNlTiONS. The following words shall have the following meanings when used in this Agreement:

Agreement. The word "Agreement" means this Consumer Security Agreement, as this Consumer Security Agreement may be amended or
modified from time to time, together with all exhibits and schedules attached to this Consumer Security Agreement from time to time.

Borrower. The word "Borrower" means Joseph A. Dehart and includes all co-signers and co-makers signing the Note and all their
successors and assigns.

Grantor, The word "Grantor" means Joseph A. Dehart.
Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or ali of the lndebtedness.

Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
Note.

indebtedness The word "lndebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
interest together with all other indebtedness and costs and expenses for which l am responsible under this Agreement or under any of the
Reiated Documents.

Lender. The word "Lender" means The First State Bank, its successors and assigns. The words "successors or assigns" mean any person
or company that acquires any interest in the Note.

Note. The word "Note" means the note or credit agreement dated August 19, 2016, in the principal amount of $12,237.00 from Joseph

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 26 of 45 Page|D: 11820

,ONSUIVIER SECUR|TY AGREE|VIE. .'
Loan No: 70991621 (Continued) Page 3

/\. Dehart to Lender, together with all renewals of, extensions of, modifications of, refinancings of, Consolidations of and substitutions for
the note or credit agreement

Property. The word "Property" means all of my right, title and interest in and to all the Property as described in the "Property Description"
section of this Agreement.

Related Documents. The words "Re|ated Documents" mean all promissory notes, credit agreements, loan agreements, environmental
agreements guaranties security agreements mortgages, deeds of trust, security deeds, Collateral mortgages and all other instruments,
agreements and documents whether now or hereafter existing, executed in connection with the indebtedness

l HAVE READ AND UNDERSTOOD ALL THE PROVlSlONS OF THlS CONSUMER SECUR|TY AGREEMENT AND AGREE TO |TS TERMS. THlS
AGREEMENT lS DATED AUGUST 19, 2016.

GRANTOR:

 

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FOR D\v\S\ON its O~w DEEARTMENT oF TRANSPORT,A~TION
DlVlSlON OF MOTOR VEHICL_E`r

 

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LlCENSE #

 

EXP. DATE

 

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.~,' CERTIF ICATE OF TITLE TU A MOTOR VEH ICLE

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"; The Division of Moior Vehicles of West Virginia certifies that pursuonl to on application under oath and in Fubsfonoe prescribed by the laws of
",~__ West Virginia ond filed with sold Diyision, the opp|iccr\t, whose nome ond address first hereinbelow oppecir/ has been registered in lihe office of
. sold Division cis the lawful owner of the vehicle/boot hereinafter described, or is otherwise entitled to have said vehicle/boot registered in the name of said
-' oppliconi, that is lo soy:

ODOMETER REAbING 88522 \\.ACTUAL

 

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_DEHART, JOSEPH

1244 RIGHT FK BEECH FK RD
EAST LYNN WV
25512

Soid Division further certifies that from said verified upplicdtion, the above described vehicle/boot is subject to lien(s) and encumbrance(s) described l ` ~
below, and none utl'rer, that is fo say:

 

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l

Nome and mailing address of Lr`enholder This lien was fully poid, solislied, and released on fhis, the

FIRST STATE BANK Nam* d°Y°f ,20_
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ignaura

BARBouRvaLLE wv r...r..r,€rir.-r.r,rxi
255 0 ll faken, subscribed, and sworn before me on this, the

 

day of ,20 ____,

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My commission expires the

08/24/2016
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Parson or Offizer lX]

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day of

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My commission expires the day of

 

 

 

 

westwrginia Wifness the corporate name of the Division of Motor
j Vehicles of West Virginia ond the seal of said Division
‘ on the month, dqy, and year set beneath the

Keepingwegwrgm,a emma mova name of the applicant in this Tifle.

jj " t silth ‘A*E gaca<it?ii)i>i\§§ i""li géM®/?iircr'§ "A"§ gictti\i’n)ait _“ . » ~ ‘
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1 1 Case 2:16-0\/- O2765- .]L|_- .]AD Document 167 Filed 10/17/18 Page 28 of 45 Page|D: 11822
COMPLETE lN BLUE OR BLACK lNK ONLY
Federal and State law re`“-ires that you certify the mileage in connection with the transfer ot ownership. l
Failure to certify or provi a false statement of vehicle mileage may result in " and/or lmprisonment.
1 ’ ASS|GNN|ENT OF CERT|F|CATE OF TlTLE

    
 
  
  
     
  
  
  
   
 
    
      
  
   
     
  

 

Te undersigned hereby certities that, for the sale price herein stated, the vehicle/boat described in this title has been transferred to the following Buyer(s) named below:

 

 

Sale Price $ ‘Trade ln $ Net Cost $ }5°/¢ Tax $

 

 

 

Printed Narne of Buyer(s) AddfGSS

 

 

 

   

“t certify to the best ot my knowledgeLl that the odometer reading is the actual mileage of the vehicle unless one of the following statements is checks ”

:| t. The mileage stated' is in excess 2. The odometer readin is not the actual mileage.
of its mechanical limits WAFtNlNG ODOMET' Fi DISCREPANCY

 
   
   

R§AD EFCA¥ZE§FOLiLLY
C_HECK A Bl__OCt‘.
Signature ol Seller(s) or Dealer Prlniect Name of Se||er(s) or Daaler Dealer’s Lioense Certitlcate No.
f><)
“l am aware ot the above odometer certification made by the setlér.”

 

'Date of Sale

      
 
     
     

 

 

 

WARN|NG: THlS APPLlCATlON lVlUST NOT
BE SlGNED UNLESS THE PRlNTED NANlE AND
ADDRES$ OF THE BUYER(S) APPEAR ABOVE.

  

 

Signature(s) of Buyer(s):

   

Printh Name(s) of Buyer(s):

 

 

 

 

The undersigned Dealer hereby certifies that, for the sale price herein stated the vehicle/boat described in this title has been transferred to the tottowing Buyer(s) named below:

 

Printed Name of Buyer(s) Address

 

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‘ l certify to the best of my knowledge that the odometer reading is the actual mileage at the vehicle unless one of the following statements is checked' "’
‘ ”- _ _ __ ’ 1. The mileage stated is in excess 2 The odometer readin ls not the actual mileage
.: Tenths . . _ ot its mechanical limits. v , WAFtNlNG ODOM Fi DlSCHEF'ANCY

~ ~ c
Signature Dealer/Agent: Printed name of Dealer/Agent Deater L.icense Cenilicate No. Date of Sate
ixi `
»_‘ “l am aware of thc above odometer certification made by the seller~"
1 Signature(s) of Buyerfs):

 

 

 

 

 

 

 

Printed Name(s) of Buyer(s):

 

2nd RE-ASS|GN|V|ENT B\’ DEALER ONLY

   

r Sate Price $

 

` The undersigned Dealer hereby codifies that, for the sale price herein stated, the vehicle/boat described in this title has been transferred to the following Buyer(s) named below:
Printed Name ot Buyer(s) Address

 

 

 

 

“l certify to the best of my knowledge that the odometer reading is the actual mileage of the vehicle unless one of the following statements ls ohecked: ”

       
   

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y AVBLDCK _r of its mechanical limits. WARN]NG ODOME R DlSGREPANCY
Signaw'e Dea|E!/Agem: ii - Prinin name of Deal‘=""/AQ€"¥ Dealer’s License Ceniticate No_ Date of Sale

 

 

 

1>,<1
k ‘l am aware ot the above odometer certification made by the seller."
Signature(s) of Buyer(s)'.

 

 

      
  
  

Printed Name(s) of Buyer(s):

 

 

Net Cost $

  
 
     
  
    

' Sale Price S

 

 

 

1 The undersigned Dealer hereby certifies that, for the sale price herein staied, the vehicle/boat described in this title has been transferred to the following Buyer(s) named below:
Printed Name of Buyer(s) Address

 

iii 1010/1 111/vi (S)iuaw

 

“l certify to the best of my knowledge that the odometer reading is the actual mileage of the vehicle Unless one ot the following statements is checked:"

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”- q` 'g%‘j\'{q‘gwm t. The mileage stated is in excess 2 The odometer readin is not the actual mlleage.
Tenths 7 , 1;.1=.2 AEE‘QCK 7 of its mechanical llmits. WARN|NG- ODOM ER DlSCFtEPANCY

v g ,
Signature Dealer/Agent: Prtnted name of Dea\er/Agent Dealer’s License Certiticate No Date of Sale

 

 

 

 

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"l am aware of the above odometer codification made by the seller."
Signature(e) of Buyer(s):

 

    
     
   
      
 
    
   
    
 

 

Prlnted Name(s) of Buyer(s);

   

 

 

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(Creo’it allowed only on vehicles/boats renistered in WV and tax has been paid by applicant)
1 . MaKe Vear VlN Ni). litte No.

2. Mal<e Vear j VIN No. Tilie Nii.
Liceiise No.

   

 

 

 

 

 

Description of vehicle/boat traded in: {

 

 

   
 
 

 

 

   

Ftegistratiori plates exchanged ar
transferred trom:

Amount $

 

Date of l_ien

Nerne ot Buyer(s) must be entered leginy and exactly as they are to appear on the new Certilicate ot'litle. lt the tit'e reads"and' both signatures must appeari

Pr\nteo name of Buyerlsi

  
     
   
   

lNSUFlANCE MUST EE lN EFFECT WHEN Ai’PLlCAT\DN IS RECE|VED.
Elleuiivc Date of lnsu ance- Pollcy.

  

Fram Ta
Nrtmc of lnsurancc Cori\pany

 

Address ot Buyerfst
“I/we hereby state, under penalty of false swearing that the statements made herein are true and correct to the bast of my/our knowledge and beliel."

 

Nama ct Agent

 

 

liisur‘ancc Policy Ni.irnci'='r
(X) (X) Date

NO ADDlTlONAL RE-ASSIGNMENTS PEHM\TTED

 

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 29 of 45 Page|D: 11823

er, Tammy

 

To: Frye, Tammy (tammyf@isb-wv.corn)
Subject: FW: Joseph DeHart 70991621
Attachments: lnvoice vw.pdf; ANOTHER CLASS ACTION ALLEGES VW.DOCX; The Tensioner System in

these Volkswagen and Audi vehicles can fail at a....docx

814-2017
To whom it may concern,

This email is to state that we put a Nationwicle lite insurance policy as extra collateral on my son's loan_ The life
insurance policy listed in OS| collateral is on me and ioseph is the beneficiary on the policy and the bank is assignee
Joseph has life insurance through his employer Joseph has no Wife or children and l am the beneficiary on that policy so
in the event of his death l would pay it from his coverage There is an email from Andrew \/a|landingham to Brenda
Heald stating that Andrew approved us dropping the full coverage insurance on the car due to the fact it Was not being
driven due to the engine damage in exchange for the addition of a life insurance policy as collateral. Joseph and l
understand that at such time as the vehicle becomes repaired and is placed back on the road it will need to be fully
insured and the bank listed as loss payee if the loan is still active at that time.

Tammy Frye
Guarantor

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Tammy Frye UVUOXWM_ L`) §é:ll-%

Commercial Posting Clerk
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First State Bank /C///:i' / 7 / /1~/,)/ /[/;]Ulife Cé/.,)

999 4th Avenue

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(304)736~5271 “ v l chalch
(304)691-6515(Direcr) (/oiwiciJ/L~’C~‘“' c li

(304) 522-0059 (Fax) _`

 

OFFlClAL SEAL
NOTARY PUBLXC
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Angel D. Schneider
The First State Bank

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.<’ 660 Central Avenue
':;HST y earbomsviiie, Wv 25504

9 A N t< lay Comrnission Expires June 17, 2018
wmmywdm

From: Frye, Tammy

Sent: Thursday, July 27, 2017 8:40 AM
To: Heald, Brenda

Subject: Joseph DeHart 70991621

Brenda,
Attached is the information that l sent to Rich Weston in an emai|. He advised us to notify one of the class action law

suits instead oftrying to do a private claim if possible Unfortunately, one of them is closed {not taking any more clients
but not settled either) and the other two l have contacted have not yet contacted us back. On the invoice it states that
1

 

Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 30 of 45 Page|D: 11824

.,-` ,`

there were stored codes for the timing and a slight noise, but didn't verbally mention to him that it was urgent and
needed addressed immediately. Joseph had the car in for repairs at both Keaton’s and Volkswagen due to being
bumped in the rear on the parking lot at work and neither told him of the catastrophic damage to the engine that would
occur due to the timing chain and tensioner issue that we know Volkswagen knew about even if Keaton’s did not. By the
time he got to the car to the house the car did not even have enough power to drive up the hill l live on. l\/ly mechanic
said the entire engine needs replaced, two of the valves have no pressure at all, but until he starts tearing it down he
does not know exactly how much it will cost. The estimate is about 5,000.00 to 7,000.00 depending on what he finds
once the work stars. He and another guy my husband knows go to car auctions several times a month and are keeping
their eyes open for another engine for the car but the motor blew on l\/lay 26th so it doesn’t look like it will happen very
soon. Volkswagen does not due much in the way of after-market parts, so it will be auctions or salvage yards for parts. l
called the home office for Volkswagen in California the Saturday after it happened and they stated that since the
warranty expires at 60,000 miles we Were on our own for the cost of the repairs. After l mentioned the law suits | was
told to save the receipts for possible reimbursement should there later be a recall or something like that. We would like
to drop the insurance coverage on the car since it cannot be driven at this time and put a life insurance policy on meL as
the collateral so to speakl on the loan. Even though the title to the vehicle is actually the collateral at this time it is
pretty much worthless Joseph is insured through his employer (Alcon) and has no wife or children, l am the beneficiary
on that policy and ifanything were to happen to him l would pay the loan off. The life insurance policy on me will be for
10,000.00 (current note balance is 10,342.83) and we Will list the bank as assignee to the policy and Joseph will be the
beneficiary to that policy so he can pay the loan off if something were to happen to me. He has continued to make his
payment land sometimes a little extra towards the principal) since this occurred to both the loan and the insurance, but
if we could drop the insurance coverage it would allow him to continue to pay the loan payment and save to either fix
this car if that is what he wants to do or purchase something cheap to get to and from work. | have been taking him to
and from work since this happened and will continue to do so until he can work something out, at least he had reliable
transportation even if it is a Chevy. Thank you for anything you are able to do towards helping in this matter.

 

Tammy Frye
Commercial Posting Clerk
tamm f .fsb-wv.com

First State Bank

999 4'h Avenue
Huntington, WV 25701
(304) 736-5271

(304) 691-6515 (Direct)
(304) 522-0059 (Fax)

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Flns'r
B A N i<.

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This e-rnail and any of its attachments may contain sensitive information which is privileged confidential or subject to copyright belonging to The First State Bank.
This e-mail is intended solely for the use of the individual or entity to which it is addressed lt you are not the intended recipient of this e-mai|, you are hereby
notified that any disseminationl distribution copying. or action taken in relation to the contents of and attachments to this e-mail is strictly prohibited and may be
unlawtui, if you have received this e'mai| in error, please notify the sender immediately and permanently delete the original and any copy of or printout ofthis e-
mail. The First State Bank Member FDlC. Equal Housing Lender.

 

C-ase 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 31 of 45 Page|D: 11825
D|SBURS .illENT REO.UEST AND AUTH\ .K|ZAT|ON

 

Reterences in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item,
Any item above containing "* * *" has been omitted due to text length limitations.

Borrower: Joseph A. Dehart Lender: The First State Bank
1238 Right Fork Beech Ford Road Main Office
East Lynn, WV 25512 660 Central Avenue, PO Box 295

Barboursville, WV 25504

 

 

LOAN TYPE. This is a Fixed Rate (8.100%) Disc|osab|e Loan to an lndividual for $12,237.00 due on August 19, 2021.

PR|MARY PURPOSE OF LOAN. The primary purpose of this loan is for:
g Personal, Fami|y, or Household Purposes or Persona| lnvestment.
l:l Business (|nc|uding Real Estate lnvestment).

SPEClFlC PURPOSE. The specific purpose of this loan is: Purchase 2010 Volkswagen & balance of vehicle totalled.

DlSBURSEMENT lNSTRUCTlONS. l understand that no loan proceeds will be disbursed until all of Lender's conditions for making the loan have
been satisfied. Please disburse the loan proceeds of $12,237.00 as iollows:

Amount paid to me direct|y: $3,802.66
$3,80 ' k # CNAC

     
   
    

 

Amount paid to others on my behalf: $8,197.34
$8,197.34 to Amanda Hansen

Other Charges Financed: $40.00
$40.00 VS|

Total Financed Prepaid Finance Charges: $197.00
$197.00 Loan Setup Fee

Note Principa|: $12,237.00

CHARGES PA|D lN CASH. l have paid or will pay in cash as agreed the following charges:

Prepaid Finance Charges Paid in Cash: $5.00
$5.00 Recording Fees

Tota| Charges Paid in Cash: $5.00

FlNANClAL COND|T|ON. BY SlGNlNG THlS AUTHOR|ZAT|ON, l REPRESENT AND WARRANT TO LENDER THAT THE |NFORMAT|ON
PROV|DED ABOVE lS TRUE AND CORRECT AND THAT THERE HAS BEEN NO MATER|AL ADVERSE CHANGE |N MY FlNANClAL COND|T|ON
AS D|SCLOSED lN MY MOST RECENT FlNANClAL STATEMENT TO LENDER. THlS AUTHOR|ZAT|ON lS DATED AUGUST 19, 2016.

BORROWER:

J sep A. Dehai't

 

CRED|T |NSURANCE D|SCLOSURE

VOLUNTARY CRED|T lNSURANCE. CRED|T LlFE |NSURANCE, CRED|T DlSABlLlTY |NSURANCE AND |NVOLUNTARY UNEMPLOYMENT
lNSURANCE ARE NOT REOU|RED TO OBTA|N CRED|T.

By signing below, l acknowledge that l am not obtaining credit insurance for this loan for one of the following reasons:
(A) l am not eligible for credit insurance;
lB) Credit insurance is not available from Lender; or
(C) lf l am eligible and credit insurance is available from Lender, l do not want it.

Prior to signing this Credit lnsurance Notice on August 19, 2016, l read and understood all of the provisions of this Disc|osure.

BORROWER:

x la QL);U.Q/

Jo ep .Dehar`t

;- .Case -2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 32 of 45 Page|D: 11826

Volkswagen Timing Chain Settlement
Claim Administrator

P.O. Box 3656

Portland, OR 97208-3656

"759218837764"

000 0000463 00000000 0001 0007 00067 INS: 0 0

AMANDA L HANSEN
3104 MARTHA RD
BARBOURSVILLE WV 25504-9473

August 28, 2018
Tracking Number: 704454

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More

 

1- *Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 33 of 45 Page|D: 11827

CLASS NOTICE`

A federal court authorized this notice. T h is is not a solicitation from a lawyer.
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

If you now or used to own or lease certain Volkswagen vehicles equipped with a factory installed timing chain or
timing chain tensioner, you may be entitled to benefits afforded by a class action settlement This notice is being
mailed to you because you have been identified as owning or leasing a Settlement Class Vehicle.

' This class action claimed that some timing chains or timing chain tensioners in certain Volkswagen
vehicles can fail. The class action, pending in the United States District Court for the District of
New Jersey, is entitled In Re Volkswagen Timing Chain Product Liability Litigation, Civil Action
No. 16-2765(JLL)(JAD) (the “Action” or “Lawsuit”).

- The parties have agreed to settle the Action. This Notice explains the Lawsuit, the Settlement, your
legal rights, available benefits, who is eligible for them, and how to get them. As a Settlement Class
Member, you have various options that you may exercise before the Court decides whether to approve
the Settlement. Additional information is available online at www.TimingChainLitigation.com.

- Your legal rights are affected whether you act or don’t act. Read this Notice carefully.

~ The Court in charge of this case still has to decide whether to approve the Settlement. Payments will
be made only if the Court approves the Settlement and after appeals, if any, are resolved.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com §

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 34 of 45 Page|D: 118;8

v

BASIC INFORMATION

1. Why you received this notice.

According to Volkswagen Group of America, Inc,’s (‘“VWGOA”) records, you are a current or past owner or lessee of
a Volkswagen vehicle with a 2.0L EA888 engine (“Settleinent Class Member"’_) from the following model/model year:

certain 2012_2014 model year Beetle

certain 2012-2014 model year Beetle Convertible

certain 2009~2012 model year CC

certain 2009~2012 model year Eos

certain 2008-2012 model year GTI

certain 2008-2010 and 2012-2014 model year Jetta Sedan
certain 2009 model year Jetta SportWagen

certain 2008~2010 model year Passat Sedan

certain 2008-2010 model year Passat Wagon

certain 2009-2013 model year Tiguan

(hereinafter, collectively, “Settleinent Class Vehicles”). A class action lawsuit was filed claiming that there was
a defect that caused some timing chains and/or timing chain tensionch in the Settlement Class Vehicles to fail,
sometimes requiring repair or replacement. Volkswagen has denied the claims and maintains the timing chains and
timing chain tensioners function in a proper manner.

The Lawsuit has been resolved through a Settlement under which the following benefits will be provided:

l. Warranty Extension

VWGoA`s New Vehicle Limited Warranty will bc extended to cover repair or replacement of failed timing
chains and/or timing chain tensioners of Settlement Class Vehicles during a period of ten (lO) years or
one hundred thousand (100,000) miles from the date the vehicle was first placed into service, whichever
comes firstv The warranty extension will be subject to the terms and conditions of the applicable New
Vehicle Limited Warranty and will include the timing chain tensioner, timing chain, and any parts and
labor necessary to effectuate a repair. This warranty extension will apply to all Settlement Class Vehicles
irrespective of whether the vehicle has been repaired on or before the Effective Date of the Settlement. The
warranty, as extended, is fully transferable to subsequent owners Repair or replacement under this extended
warranty must be performed by an authorized Volkswagen dealer

lI. Reimbursement of Out-of-Pocket Expenses for Repair or Replacement of Timing Chain and/or Timing Chain
mem

Settlement Class Members may be entitled to reimbursement for out-of-pocket expenses incurred for repair
or replacement of failed timing chains and/or timing chain tensioners of Settlement Class Vehicles during the
period of ten (lO) years or one hundred thousand (100,000) miles from the date the vehicle was first placed
into service, whichever occurs first, as follows:

A_ Timing Chain Tensioner Repair/Replacement

~ If the timing chain tensioner was repaired or replaced at an authorized Volkswagen dealer, the
Settlement Class Member will receive a one-hundred-percent (100%) refund of the paid dealer
invoice amount for the covered part(s) and labor.

s lf the timing chain tensioner was repaired or replaced at an independent mrvice center and not an
authorized Volkswagen dealer, the Settlement Class Member will receive a refund of the paid invoice
for the covered parts and labor, but no more than $1,10().00.

B. Timing Chain Repair/Replacement

~ If the timing chain was repaired or replaced at an authorized Volkswagen dealer, the Settlement
Class Member will receive a one-hundred-percent (100%) refund of the paid dealer invoice amount
for the covered part(s) and labor.

' If the timing chain was repaired or replaced at an independent service center and not an authorized
Volkswagen dealer, the Settlement Class Member will receive a refund of the paid invoice amount
for the covered parts and labor, but no more than $1,500.00.

' When the timing chain is replaced, the warranty coverage includes oil change, oil iilter, and cleaning
of oil pan, which includes reimbursement to Settlement Class Members for payments previously
made for these items in connection with a timing chain repair or replacement

Questions? Call 1-855-206~9873 or visit www.TimingChainLitigation.com

V3052 v.06 OB.`\ 7.2018

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The above relief is subject to certain limitations and proof requirements which are set forth in Section
IV below and in the Settlement Agreement, which can be found at wwwiTimingChainLitigation.com.

C. Simultaneous Timing Chain and Timing Chain Tensioner Repair/Replacement

If the timing chain and timing chain tensioner were both simultaneously repaired or replaced at an
authorized Volkswagen dealer, the Settlement Class Member will receive a one-hundred-percent
(100%) refund of the dealer invoice amount for the covered part(s) and labor.

If the timing chain and timing chain tensioner were both simultaneously repaired or replaced at an
independent service center, the Settlement Class Member will receive a refund of the invoice for the
covered parts and labor, but no more than $2,000.00.

The above relief is subject to certain limitations and proof requirements which are set forth in Section
IV below and in the Settlement Agreement, which can be found at www.TimingChainLitigation.com.

III. Reimbursement of Out-of-Pocket Expenses to Repair or Reolace a Damaged or Failed Engine Due to Failure
of the Timing Chain Tensioner and/or Timing Chain

In addition to the reimbursements and warranty extension set forth above, Settlement Class Members may be
entitled to reimbursement of out-of-pocket expenses incurred to repair or replace a failed or damaged engine
due to the failure of the timing chain tensioner and/or timing chain within ten (lO) years or one hundred
thousand (100,000) miles from the date the Settlement Class Vehicle was placed into service, whichever
occurs first, as follows:

lf the engine was repaired or replaced at an authorized Volkswagen dealer, a refund of the paid dealer
invoice amount subject to the time/mileage parameters in Table 1, below.

If the engine was repaired or replaced at an independent service center and not an authorized Volkswagen
dealer, the maximum reimbursement amount is $6,500.00, subject to the time/mileage parameters in
Table 1, below.

TABLE 11 REIMBURSEMENT FOR OUT-OF-POCKET EXPENSES FOR DAMAGED OR FAILED ENGINE

DUE TO TlMlNG CHAIN TENSIONER/TIMING CHAIN FAILURE

 

 

 

 

Time from Less than 60,001 to 75,000 75,001 to 85,000 85_,001 to 100,000
in-service date 60,000 miles miles miles miles
5 years or less 100% 70% 60% 45%

5-7 years 70% 60% 50% 35%

7-10 years 60% 50% 40% 25%

 

 

 

 

 

 

 

IV. Limitations and Reguired Proof

A. Limitations

Any reimbursement will be reduced by goodwill or other concession paid by an authorized
Volkswagen dealer or any other entity (including insurers and providers of extended warranties).
VWGoA will not be responsible for, and will not warrant, repair or replacement work performed
at an independent service center. If the Volkswagen replacement covered part(s), purchased by
the Settlement Class Member or the independent service center from an authorized Volkswagen
dealer, fails within one (1) year or 12,000 miles (whichever occurs first) of installation, VWGoA will
provide a free replacement of the covered part(s) only,

Any replacement engine will be subject to the replacement part warranty terms and conditions
accompanying that replacement engine This Settlement does not modify the terms, conditions,
restrictions, or limitations of that warranty

B. Reguired Proof

In order to obtain the benefits provided for in this section, the Settlement Class Member shall provide
documentation sufiicient for the Claims Administrator to process the claim, such asi

V3053 v.06 08,17,2018

Repair invoice containing the Settlement Class Member`s name, make, model year, vehicle
identification number (VIN) of the Settlement Class Vehicle, name and address of the authorized
Volkswagen dealer or servicing center that performed the repair, date ofrepair, description of repair,
mileage at repair, part(s) replaced, that the repair or replacement was due to the failure of the timing
chain tensioner and/or timing chain, the cost (parts and labor) of repair/replacement, and proof of
payment of same or such other proof sufficient to establish the repair.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 36 of 45 PagelD: 11830 A

‘ Documents evidencing Settlement Class Member`s good faith adherence to the relevant aspects of
the vehicle maintenance schedule during the time he/she owned the Settlement Class Vehicle, in
particular, scheduled oil changesj up to the date/mileage ofrepair/replacemen . However, in the event
maintenance records cannot be obtained despite a good faith effort to obtain them, the Settlement
Class Member may submit a sworn declaration detailing why the records are not available, and
attesting to adherence to the vehicle maintenance schedule and, in particular, scheduled oil changes,

up to the date/mileage of replacement/rcpair, within the variance set forth above

2. Why is this a class action settlement?

ln a class action lawsuit, one or more persons, called Class Reprcsentatives, sue on behalf of other people who have
similar claims All of these people are Class Members The Class Reprcsentativcs and all Settlement Class Members
are called the Plaintilfs and the companies they sued are called the Defendants. One court resolves the issues for
all Settlement Class Members, except for those who exclude themselves from the Class. U.S. District Judge Jose L.
Linares is in charge of this class action

The Court has not decided in favor of Plaintilfs or Defendants. Instead, both sides agreed to a Settlement with no
decision or admission of who is right or wrong. That way, all parties avoid the risks and cost of a trial, and the people
affected (the Settlement Class Members) will get compensation quickly The Class Reprcsentativcs and the attorneys
think the Settlement is best for the Settlement Class.

WHO IS PART OF THE SETTLEMENT?

3. Am l in this Settlement Class?

Judge Linares conditionally approved the following definition of a Settlement Class Member: All present or former
purchasers and/or lessees of a Volkswagen Settlement Class Vehicle enumerated below, originally equipped with
factory installed timing chain or timing chain tensioner7 who reside in the United States ofAmerica and Puerto Rico:

certain 2012-2014 model year Beetle

certain 2012~2014 model year Beetle Convertible

certain 2009-2012 model year CC

certain 2009_2012 model year Eos

certain 2008~2012 model year GTl

certain 2008~2010 and 2012-2014 model year Jetta Sedan
certain 2009 model year Jetta SportWagen

certain 2008-2010 model year Passat Sedan

certain 2008-2010 model year Passat Wagon

certain 2009~2013 model year Tiguan

Excludcd from the Settlement Class are (a) anyone claiming personal injury_, property damage, and/or subrogation',
(b) all Judges who have presided over the Action, and their spouses; (c) all current employees, officers, directors,
agents, and representatives of Volkswagen Group Companies, and their family members; (d) any affiliate parent or
subsidiary of Defendants and any entity in which Defendants have a controlling interest; (e) anyone who purchased a
Settlement Class Vehicle for the purpose of commercial resale; (f) anyone who purchased a Settlement Class Vehicle
with salvaged title and/or any insurance company who acquired a Settlement Class Vehicle as a result of a total loss;
(g) any insurer of a Settlement Class Vehicle; (h) any owners or lessees of Settlement Class Vehicles that were not
manufactured for export specifically into the United States of America or Puerto Rico and were not imported or
distributed by VWGOA; and (i) any Settlement Class Member that files a timely and proper request for exclusion
from the Settlement Class.

4. l’m still not sure if l am included.

If you are still not sure whether you are included, you can get more information You can ca11 1-855-206-9873 or visit
www.TimingChainLitigation.com for more information

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

V3054 v,OS 08.17`2018

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SETTLEMENT BENEFITS - WHAT YOU GET

5. What does the Settlement provide?

The_benefits afforded by the Settlement are described in Question l. More details are provided in the next three
sections

6. How does the extended warranty work?

Beginning on August 28, 2018, VWGOA’s New Vehicle Limited Warranty will be extended for all Settlement Class
Vehicles to cover repair or replacement of a failed timing chain and/or timing chain tensioner by an authorized
Volkswagen dealer if, at the time you bring your vehicle to the dealer for repair, it is within ten (lO) years or one
hundred thousand (100,000) miles (whichever occurs first) from the date the Settlement Class Vehicle was first placed
into service The rights and procedures generally available under the New Vehicle Limited Warranty will apply to
repairs during this extended warranty period The extended warranty is subject to the same terms and conditions of
the New Vehicle Limited Warranty.

7. Who can send in a claim for cash payments?

Any United States or Puerto Rico resident who purchased or leased a Settlement Class Vehicle can send in a claim
for cash reimbursement for money spent within the time/mileage parameters and prior to the date of this Notice as
described in Question l.

8. How do l send in a claim for a cash reimbursement?

To submit a claim for a cash reimbursement7 you must do the following:
I. Online

A. Complete an online Claim Form and upload supporting documentation (i.e., repair record[s], receipts,
proof of payment, and proof of compliance with maintenance requirements) at the Settlement website,
www.TimingChainLitigation.com.

II_ Bv mail

A. Complete, sign, and date a Claim Form (there is one enclosed with these materials and you can also
download one at www.TimingChainLitigation.com). It is recommended that you keep a copy of the
completed Claim Form; and

B. Mail the Claim Form and your supporting documentation (i.e., repair record[s], receipts proof of
payment, and proof of compliance with maintenance requirements) by First-Class mail, postmarked no
later than January 25, 2019, to the address provided on the Claim Form. The information that must be
reflected in your records can be found on the Claim Form. It is recommended that you keep a copy of
your repair records

If you fail to submit the Claim Form and supporting documents by the required deadline, you will not get paid.

9. When do l get my reimbursement or learn whether l will receive a payment?

If the Claims Administrator determines your claim is valid, your reimbursement will be mailed to you after the
Settlement becomes final. The Court will hold a Fairness Hearing on November 19, 2018, to decide whether to
approve the Settlement as fair, reasonable, and adequate Information about the progress of the case will be available
at www.TimingChainLitigation.com.

If the Claims Administrator determines your claim should not be paid, you will be mailed a letter telling you this If
the reason for rejecting your claim is due to a deficiency iri your Claim Form and/or supporting proof, the letter will
notify you of the deficiency in your claim and what needs to be submitted to correct the deficiency To check on the
status of your claim, you can call l-855-206-9873.

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Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com §§

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 38 of 45 Page|D: 113_32 o

10. What am l giving up to get a cash reimbursement and stay in the Class?

 

Unless you exclude yourself, you are staying in the Class, and that means that you cannot sue, continue to sue, or be
part of any other lawsuit about the same matters and legal issues in this case (except for claims of personal injury or
property damage). lt also means that all of the Court’s orders will apply to you and legally bind you4

EXCLUDING YOURSELF FROM THE SETTLEMENT

11. How do l get out of this Settlement?

To exclude yourself from the Settlement, you must send a letter by U.S. mail postmarked no later than October 12,

_ 2018, stating that you want to be excluded from the Settlement. Be sure to include your full name, address, telephone
number, signature, model year, VIN of your vehicle, and the approximate date(s) of purchase or lease You must mail
your exclusion request postmarked no later than October 12, 2018, to each of the following:

 

 

 

 

 

 

Claim Administrator Class Counsel Defense Counsel
Volkswagen Timing Chain James E. Cecchi Jeffrey L. Chase
Settlement CARELLA BYRNE CECCHI CHASE KURSHAN HERZFELD
Claim Administrator OLSTEIN BRODY & AGNELLO, & RUBIN LLC
PO Box 3656 P.C. 354 Eisenhower Parkway
Portland, OR 97208-3656 5 Becker Farm Road Suite 1100
Roseland, NJ 07068 Livingston, NJ 07039

 

You cannot exclude yourself on the phone or by email. If you submit your request to be excluded by U.S. mail or
express mail, you will not get any benefits of the Settlement and you cannot object to the Settlement. You will not be
legally bound by anything that happens in this Lawsuit.

12. If l don't exclude myself, can l sue later?

No, not for the same matters and legal claims at issue here, unless your claim is for personal injury or property

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13. If l exclude myself, can l get the benefits of this Settlement?

No, if you exclude yourself from the Settlement Class, you won`t get any money or benefits from this Settlement, and
you should not submit a Claim Form. You cannot do both.

14. Do l have a lawyer in this case?

The Court has appointed the law firms of Carella Byrne Cecchi Olstein Brody & Agnello, P.C.; Kessler Topaz Meltzer
& Check, LLP; and Kantrowitz, Goldhamer & Graifman, Esqs. Together these law firms are called “Class Counsel."'

 

15. Should l get my own lawyer?

You do not need to hire your own lawyer because Class Counsel is working on your behalfl But, if you want your
own lawyer, you may hire one at your own cost.

16. How will the lawyers be paid, and will the Plaintiff Settlement Class Reprcsentativcs receive

 

incentive awards?

Class Counsel have prosecuted this case on a contingency basis They have not received any fees or reimbursement
for any of the costs and expenses associated with this case Class Counsel will request an award of reasonable attorney
fees and reasonable costs and expenses of this Lawsuit (“Fees and Expeiises”) from the Court in an amount no greater
than twenty-two million five hundred thousand dollars ($22,500,000,00)_ Defendants will have the opportunity to
oppose the amount of Class Counsel’s requested Fees and Expenses You won’t have to pay these Fees and Expenses
Any Fees and Expenses awarded to Class Counsel will not affect your Settlement amount.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

V3056 v.06 08.17.2018

6

51

»» ,., Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 39 of 45 Page|D: 11833

Class Counsel will also apply to the Court for incentive awards to the named Plaintiffs, who have conditionally been
approved as Settlement Class Representatives, in the amount of $2,500.00 each, for their efforts in pursuing this
litigation for the benefit of the Settlement Class. Any award for Class Counsel Fees and Expenses and any incentive
awards will be paid by Defendants and will not reduce any benefits available to you under the Settlement.

Class Counsel`s motion for fees and expenses and Settlement Class Reprcsentative incentive awards will be filed by
September 27, 2018, and will be made available for review at www.TimingChainLitigation.com.

SUPPGRTING OR OBJECTING TO THE SETTLEMENT

17. How do l tell the Court that l like or dislike the Settlement?

lf you are a member of the Settlement Class and do not request to be excluded, you can tell the Court you like the
Settlement and it should be approved, or that you object to the Settlement or Class Counsel`s requests for fees and
expenses and Settlement Class Reprcsentative incentive award, if you do not like a part of it. You are not required to
submit anything to the Court unless you are objecting or wish to be excluded from the Settlement.

To object, you must send a letterto the Court with copies to the Class Counsel and defense counsel listed below, saying
that you are objecting to the Settlement 111 Re Volkswagen Timing Chain Proa’uct Liabl`lity Litigation, Civil Action
No. 16-2765(JLL)(JAD), and your objection must include your full name, current address and telephone number, the
model year and VIN of your vehicle and proof that you own(ed) or lease(d) it, a statement of all your factual and legal
grounds for objecting, any documents and/or briefs supporting your objection, a statement of whether you intend to
appear at the Fairness Hearing, and your signature Any Settlement Class Member objecting to the Settlement must
also provide a detailed list of any other objections submitted by the objector, or the objector’s counsel, to any class
action Settlements submitted in any court in the previous five (5) years, or affirmatively state that the Settlement
Class Member or his or her counsel has not objected to any other class action Settlement in the previous five (5) years,
in the written materials provided with the objection If you intend to appear at the Fairness Hearing through counsel,
your comment must also state the identity of all attorneys representing you who will appear at the Fairness Hearing
Be sure to send your objection to the three different places set forth below such that it is postmarked no later th an
October 12, 2018.

 

 

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Court Class Counsel Defense Counsel
Clerk of the Court, James E. Cecchi Jeffrey L. Chase
United States District Court CARELLA BYRNE CECCHI CHASE KURSHAN HERZFELD
for the District of New Jersey OLSTEIN BRODY & AGNELLO, & RUBIN LLC
Martin Luther King, Jr. P.C. 354 Eisenhower Parkway
Federal Building and U.S. 5 Becker Farm Road Suite 1100
Courthouse Roseland, NJ 07068 Livingston, NJ 07039
50 Walnut Street

 

 

 

 

Newark, NJ 07101

 

The filing of an objection allows Class Counsel or Counsel for Defendants to notice such objecting person for and
take his or her deposition consistent with the Federal Rules of Civil Procedure at an agreed-upon location before the
Fairness Hearing, and to seek any documentary evidence or other tangible things that are relevant to the objection
Failure by an objector to comply with discovery requests may result in the Court striking said objector`s objection
and otherwise denying that person the opportunity to make an objection or be further heard.

1f you do not submit a written comment on or objection to the proposed Settlement or the application of Class Counsel
for incentive awards or attorney fees and expenses in accordance with the deadline and procedure set forth above7
you will waive your right to be heard at the Fairness Hearing and to appeal from any order orjudgnient of the Court
concerning the matter.

 

18. What is the difference between objecting and excluding myse|f?

Objecting is simply telling the Court that you do not like something about the Settlement. You can object only if you
stay in the Settlement Class Excluding yourself is telling the Court that you do not want to be part of the Settlement
Class and the Settlement. If you exclude yourself, you have no basis to object because the case no longer affects you.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com §§

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Case 2:16-cv-02765-.]LL-.]AD Document 167 Filed 10/17/18 Page 40 of 45 Page|D: 11834
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FAIR NESS HEARI NG

1§_. When and where will the Court decideto approve the Settlement? M

 

The Court will hold a Fairness Hearing at 11;00 a.m. on November 19, 2018, at the United States District Court for
the District of New Jersey, Martin Luther King, Jr. Federal Building and U.S. Courthouse, 50 Walnut Street, Newark,
New Jersey 07101, to determine whether the Settlement should be finally approved At this Fairness Hearing, the
Court will consider whether the Settlement is fair, reasonable and adequate The Court will also consider Class
Counsel’s application for Fees and Expenses and incentive awards to Class Reprcsentativcs

20. Do l have to come to the Fairness Hearing?

No. Class Counsel will answer questions the Court may have But, you are welcome to come at your own expense
provided you have not excluded yourself from the Settlement. If you send an objection, you do not have to come to
Court to talk about it. You may also pay your own lawyer to attend, but it is not necessary

21. May l speak at the Fairness Hearing?

If you do not exclude yourself, you may ask the Court’s permission to speak at the Fairness Hearing concerning
the proposed Settlement or the application of Class Counsel for attorneys` Fees and Expenses and Settlement Class
Reprcsentative incentive awards To do so, you must send in a letter notice saying that it is your intention to appear at
the Fairness Hearing in In Re Volkswagen Timing Chain Proa’uct Liabz'[ity Litz`gatiori, Civil Action No. 16-2765(J'LL)
(JAD), The letter notice must state the position you intend to present at the Fairness Hearing, state the identities of all
attorneys who will represent you (if any), and must include your full namc, current address, telephone numbcr, model
year and VIN of your vehicle(s), and your signature You must send your letter notice to the Clerk of the Court, Class
Counsel, and defense counsel at the three addresses listed under Question 17 above, such that it is postmarked no
later than October 12, 2018. You may combine this notice and your comment (described under Question 17) in a
single letter You cannot speak at the Fairness Hearing if you excluded yourself from the Settlement.

IF YOU DO NOTHING

22. What happens if l do nothing at all?

If you do nothing, you will be bound by the Settlement if the Court approves it,
MORE INFORMAT|ON

23. Where can l get more information?

Visit the website at www.TimingChainLitigation.com where you can submit a claim online, find extra Claim
Forms and more information on this litigation and Settlement. Updates regarding the case will be available at
www.TimingChainLitigation.com. You may also call the Claims Administrator at 1-855-206-9873 or einail
info@TimingChainLitigation.com.

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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CLAIM FORM

Volkswagen Timing Chain/Timing Chain Tensioner Claim Form
Instructions:

Carcfully read each below Section, fill in all applicable fields, and provide the necessary supporting documentation
described in Section lV. Once complete, send via U.S. Mail, postmarked no later than January 25, 2019, to;

Volkswagen Timing Chain Settlement
Claim Administrator
PC) Box 3656
Portland, GR 97208-3656

Alternatively, you may electronically file a Claim Form through the Settlement website at
www.TimingChainLitigation.com, on or before January 25, 2019.

Please note that all fields in Sections l-V are required unless otherwise stated Only submit one form per Vehicle
ldentification Number.

l. CONTACT AND VEH|CLE lNFORMATlON:

 

 

 

 

Priinary Owner/Lessee First: MI: Last:
Secondary Gyvner/Lessee First (if a )plicable): MI: Last:

 

 

1:

 

 

Company Naine (if applicable)'.

 

 

Address 1:

 

 

Address 21

 

 

City: State: ZIP Code:

 

 

Email:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Phone Number:

 

 

 

Vehicle ldentification Nuinber (VIN):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

l|. OUT-OF-POCKET EXPENSES FOR REPA|R OR REPLACEMENT OF T|N||NG CHA|N,T|M|NG CHA|N
TENS|ONER, OR SlMULTANEGUS REPA|R OR REPLACEMENT OF BOTH.

lf you did not incur out-of-pocket expenses for repair of a timing chain or timing chain tensioner, skip this section

    

A. Claim for Repair or Replagement of ONLY Timing Chain:
1. How much did you pay for parts and labor in connection with the repair or replacement of a failed timing chain
related to the Settlement Class Vehicle associated w ith the VIN y ou provided in Section 1 of this Claim Forin?

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Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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759218837764

2. What was the date of the repair‘?

 

 

MM DD YYYY
3. What was the odometer mileage of the vehicle at the time of the repair? (Miles)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. What is the contact information of the repair facility?
Repair Facility Name;

 

 

Repair Facility Address:

 

 

City: State: ZlP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Phone Nuinber;

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dealer?

|:j Yes |:j No
B. Claim for Repair or Replacement of ONLY Timing Chain Tensioner:

l. How much did you pay for parts and labor in connection with the repair or replacement of a failed timing chain
tensioner related to the Settlement Class Vehicle associated with the VlN you provided iii Section l of this Claim

Forin‘?

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2. What was the date of the repair‘?

 

 

 

MM DD YYYY
3. What was the odometer mileage of the vehicle al the time of the repair? (Miles)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. What is the contact information of the repair facility‘?
Repair Facility Name:

 

 

Repair Facility Address:

 

 

City: State: ZIP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Phone Nuinber;

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dealer?

|:j Yes |:j No
C. Simultaneous Repair or Replacement Qf Timing Chain and Timing Chain Tensioner:

1. How much did you pay for parts and labor in connection with the simultaneous repair or replacement of a failed
timing chain and timing chain tensioner related to the Settlement Class Vehicle associated with the VlN you provided

in Section 1 of this Claim Forin?

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Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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2. What was the date of the repair?

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MM DD YYYY
3. What was the odometer mileage of the vehicle at the time of the repair? (Miles)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4. What is the contact information of the repair facility‘?
Repair Facility Name:

 

 

Repai r Facility Address:

 

 

City: State: ZIP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Phone Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dealer‘?

|:|Yes |:I No

lll. OUT-OF-POCKET EXPENSES TO REPA|R OR REPLACE DAMAGED OR FAlLED ENG|NE DUE TO

FA|LURE OF THE TlMlNG CHA|N OR TlMlNG CHA|N TENS|ONER.

 

If you did not incur out-of-pocket expenses to repair or replace a damaged or failed engine due to failure of the timing
chain or timing chain tensioner, skip this section

1. How much did you pay for parts and labor in connection with the repair or replacement of a damaged or failed engine
due to the failure of the timing chain or timing chain tensioner related to the Settlement Class Vehicle associated with
the VIN you provided in Sectionl of this Claim Form?

$ .

2. What was the date of the repair‘?

 

 

 

MM DD YYYY
3. What was the odometer mileage of the vehicle at the time of the repair? (Miles)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4, What is the contact information of the repair facility?
Repair Facility Naine:

 

 

Repair Facility Address:

 

 

City: State: ZIP Code:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Repair Facility Phone Number:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Was the repair facility an authorized Volkswagen dealer?

|:| Yes |:| No

Questions? Call 1-855-206-9873 or visit www.'l`imingChainLitigation.com §§

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Case 2: 16- --cv O2765- .]L|_- .]AD Document 167 Filed 10/17/18 Page 44 of 45 Page|D: 11838 , s
1171!1|2|1|8|8|1|1|7|611|1|l||||||||||||||l|l|||lll||||l|l||lll|l|ll|||l||| Umqu€“’ CQAZWWEWWQ“‘*A l

lV. PROV|DE REPA|R RECE|PT(S) OR OTHER PAPERWORK (OR|G|NAL OR COP|ES) REGARDING
YOUR DUT-OF-POCKET EXPENSES RELATED TO SECT|ONS ll ANDLOR lll.

ln orderto obtain the benefits provided for in the Settlement Agreement, your supporting documentation must show:

     

The date and vehicle mileage at the time of the repair;

The name, address, and telephone number of the facility that performed the repair;

The year, make, model, and Vehicle ldentification Nuinber (VIN) of your vehicle;

Proof of ownership or lease of the vehicle;

The parts repaired or replaced (i.e., the timing chain and/or timing chain tensioner), as applicable to your

vehicle under the terms of the Settlement. lf reimbursement is sought for a damaged or failed engine due

to a timing chain and/or timing chain tensioner failure, your documents must also reflect that the engine

damage or failure that required repair/replacement was due to a failure of the timing chain tensioner and/or

timing chain

~ Proof of payment including the amount paid for repair (parts and labor) and the date and manner of payment;
and

- Documents evidencing your adherence to the relevant aspects of the vehicle maintenance schedule during

the time you owned or leased the vehicle in particular scheduled oil changes up to the date/mileage of

replacement/repair, within a variance of 10% of the scheduled time/mileage maintenance requirements

However, in thc event maintenance records cannot be obtained despite a good faith effort to obtain them,

you may submit a sworn declaration detailing why the records are not available and attesting to adherence

to the vehicle maintenance schedule and. in particular, scheduled oil changes up to the date/mileage of

replacement/rcpair, within the variance set forth above

V. CERT|F|CAT|ON:

All the information that l (we) supplied in this Claim Form is true and correct to the best of my (our) knowledge and
belief and this document is signed under penalty of perjury

If more than one Ownenlessee, this Claim Form must be signed by ali ()11¢ners Lessees.

 

 

 

 

 

 

 

 

 

 

 

 

 

Date

 

 

 

MM DD YYYY

 

Signature of Primary Owner/Lessee

 

 

 

 

 

 

 

 

 

 

 

 

 

Date

 

 

 

MM DD YYYY

 

Signature of Secoiidary Owner/Lessee (if applicable)

Questions? Call 1-855-206-9873 or visit www.TimingChainLitigation.com

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Case 2:16-cv-O2765-.]LL-.]AD Document 167 Filed 10/17/18 Page 45 of 45 Page|D: 11839

 
   

   

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